        Case 1:23-cv-00140-LWW          Document 24         Filed 08/17/23        Page 1 of 59




             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
           BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE

                                                       )
AMERICAN KITCHEN CABINET ALLIANCE,                     )
                                                       )
                       Plaintiff,                      )
                                                       )
               v.                                      )               Court No. 23-00140
                                                       )
UNITED STATES,                                         )
                                                       )
                       Defendant,                      )
                                                       )
                and                                    )
                                                       )
SCIOTO VALLEY WOODWORKING, INC.                        )
d/b/a VALLEYWOOD CABINETRY,                            )
                                                       )
                       Defendant-Intervenor.           )



                              DECLARATION BY LEE BAXLEY

Lee Baxley declares and says:

   1.       I am an International Trade Analyst in the Office of Trade, Trade Remedy Law
            Enforcement Directorate (TRLED), Enforcement Operations Division (EOD), at U.S.
            Customs and Border Protection (CBP). I have been employed by CBP since July
            2018, and I have held my current position since August 2021.

   2.       It is my understanding that American Kitchen Cabinet Alliance has commenced the
            above-captioned action in the United States Court oflnternational Trade challenging
            the Administrative Review in Enforce and Protect Act (EAPA) Case No. 7705.

   3.       I have prepared a true and complete copy of the administrative record in the above-
            referenced proceeding.

   4.       To the best of my knowledge, I have included in the administrative record all
            documents pertaining to the above-referenced proceeding presented to or obtained by
            CBP during the proceeding.

   5.       Pursuant to Rule 73 .3(b ), the parties have stipulated to an alternative filing procedure
            and only the following documents will be filed with the Clerk of the Court:
           Case 1:23-cv-00140-LWW          Document 24         Filed 08/17/23       Page 2 of 59




               a. Public and Confidential Indices of the Administrative Record that contain a
                  complete list of the documents comprising the Administrative Record in this
                  matter;

               b. True and complete copies of the Final Determination and the Administrative
                  Review Determination in EAPA Consolidated Case 7705.

      6.       The remaining documents comprising the Administrative Record will be delivered to
               the parties via an express courier service.

      7.       I affirm, under penalty of perjury, that the foregoing is true and correct to the best of
               my knowledge, information, and belief


Executed on the 17th day of August 2023 .


                     Digitally signed
      LEE M BAXLEY by LEE M BAXLEY
                     Date: 2023.08.17
/s/                  08:58:39 -04'00'




Lee Baxley
International Trade Analyst
Enforcement Operations Division
Trade Remedy Law Enforcement Directorate
Office of Trade
U.S. Customs and Border Protection
   Case 1:23-cv-00140-LWW            Document 24        Filed 08/17/23        Page 3 of 59

                              EAPA INVESTIGATION NO. 7705


                   American Kitchen Cabinets Alliance v. United States
                                 Court No. 23-00140
                                     Public Index


Document        Date of
Number          Document     File Name                                             Version
                                                                                   Public
            1      2/3/2022 AKCA - Valleywood Allegation - (7705) - PV             Version
                                                                                   Public
            2      3/9/2022 TRLED - Official Receipt Email - (7705) - PD           Document
                                                                                   Public
            3      3/9/2022 TRLED - Receipt Checklist - (7705) - PD                Document
                                                                                   Public
            4     3/22/2022 DCNTAC - Receipt Report - (7705) - PV                  Version
                                                                                   Public
            5     3/30/2022 TRLED - Initiation Checklist - (7705) - PD             Document
                                                                                   Public
            6     3/30/2022 TRLED - Initiation Memo - (7705) - PV                  Version
                                                                                   Public
            7     3/30/2022 TRLED - Internal Initiation Email - (7705) - PV        Version
                                                                                   Public
            8     4/18/2022 Scioto - Customs Power of Attorney - (7705) - PD       Document
                                                                                   Public
            9      6/1/2022 Scioto - Response to Customs CF 28 - (7705) - PV       Version
                            TRLED - Response to Extension Request - (7705) -       Public
           10      6/1/2022 PD                                                     Document
                            TRLED - Response to Extension Request Correction -     Public
           11      6/1/2022 (7705) - PD                                            Document
                                                                                   Public
           12     6/24/2022 TRLED - Memo to File - (7705) - PD                     Document
                            TRLED - Email Implementing Interim Measures -          Public
           13     6/28/2022 (7705) - PD                                            Document
                            TRLED - Internal Email Implementing Interim            Public
           14     6/28/2022 Measures - (7705) - PV                                 Version
                            TRLED - Notice of Initiation and Interim Measures -    Public
           15      7/6/2022 (7705) - PV                                            Version
                                                                                   Public
           16      7/8/2022 TRLED - Email PV RFI - (7705) - PD                     Document
                                                                                   Public
           17      7/8/2022 TRLED - Example of Bracketing - (7705) - PD            Document
                            TRLED - Importer Request for Information - (7705) -    Public
           18      7/8/2022 PV                                                     Version
                            TRLED - MANUFACTURER Request for                       Public
           19      7/8/2022 Information - (7705) - PV                              Version
                                                                                   Public
           20     7/12/2022 TRLED - Administrative Record Email - (7705) - PD      Document
                            Scioto and Alno - Extension Request for RFI - (7705)   Public
           21     7/18/2022 - PD                                                   Document


                                              1
Case 1:23-cv-00140-LWW       Document 24        Filed 08/17/23      Page 4 of 59

                      EAPA INVESTIGATION NO. 7705

                                                                            Public
    22    7/19/2022 TRLED - First Extension Response - (7705) - PD          Document
                    Scioto and Alno - Second Extension Request - (7705) -   Public
    23    7/27/2022 PD                                                      Document
                    TRLED - Second Extension Request Response -             Public
    24    7/29/2022 (7705) - PD                                             Document
                    Scioto and Alno - Third Extension Request - (7705) -    Public
    25     8/4/2022 PD                                                      Document
                    TRLED - Third Extension Request Response - (7705)       Public
    26     8/8/2022 - PD                                                    Document
                                                                            Public
    27    8/17/2022 TRLED - Rejection Email - (7705) - PD                   Document
                                                                            Public
    28    8/18/2022 Scioto and Alno - Extension Request - (7705) - PD       Document
                                                                            Public
    29    8/18/2022 TRLED - Email Task Extension Request - (7705) - PD      Document
                                                                            Public
    30    8/25/2022 Alno - Exhibits Combined - (7705) - PV                  Version
                                                                            Public
    31    8/25/2022 Scioto & Alno - Final Response - (7705) - PV            Version
                                                                            Public
    32    8/25/2022 Scioto - Exhibits - (7705) - PV                         Version
                                                                            Public
    33    8/25/2022 Scioto - Response FINAL - (7705) - PV                   Version
                    TRLED - Email Alno First Supplemental RFI - (7705)      Public
    34     9/2/2022 - PV                                                    Version
                    TRLED - Manufacturer First Supplemental RFI -           Public
    35     9/2/2022 (7705) - PV                                             Version
                    TRLED - Manufacturer Second Supplemental RFI -          Public
    36     9/2/2022 (7705) - PV                                             Version
                                                                            Public
    37     9/9/2022 Alno - Supplemental RFI - (7705) - PV                   Version
                    TRLED - Email Alno Second Supplemental BC RFI -         Public
    38     9/9/2022 (7705) - PD                                             Document
                    TRLED - Email Alno Second Supplemental RFI -            Public
    39     9/9/2022 (7705) - PV                                             Version
                    Alno - Second Supp RFI Extension Request - (7705) -     Public
    40    9/12/2022 PD                                                      Document
                    TRLED - Email for Scioto Supplemental BC RFI -          Public
    41    9/12/2022 (7705) - PD                                             Document
                    TRLED - Email for Scioto Supplemental PV RFI -          Public
    42    9/12/2022 (7705) - PD                                             Document
                    TRLED - Importer First Supplemental RFI - (7705) -      Public
    43    9/12/2022 PV                                                      Version
                                                                            Public
    44    9/13/2022 Scioto - RFI Extension Request - (7705) - PD            Document
                    TRLED - Response to Extension Request - (7705) -        Public
    45    9/14/2022 PD                                                      Document
                    TRLED - Response to Extension Request - (7705) -        Public
    46    9/16/2022 PD                                                      Document

                                       2
Case 1:23-cv-00140-LWW     Document 24       Filed 08/17/23     Page 5 of 59

                     EAPA INVESTIGATION NO. 7705

                                                                       Public
    47    9/19/2022 Alno - Extension Request - (7705) - PD             Document
                    TRLED - Response to Alno Second Extension Request  Public
    48    9/20/2022 - (7705) - PD                                      Document
                    TRLED - Response to Extension Request - (7705) -   Public
    49    9/20/2022 PD                                                 Document
                                                                       Public
    50    9/26/2022 Alno - Second Sup RFI Cover Letter - (7705) - PV   Version
                                                                       Public
    51    9/29/2022 Scioto - Second RFI Cover Letter - (7705) - PV     Version
                                                                       Public
    52    9/29/2022 Scioto - Second RFI Exhibits - (7705) - PV         Version
                                                                       Public
    53    9/29/2022 TRLED - Administrative Record Email - (7705) - PD  Document
                                                                       Public
    54    10/5/2022 TRLED - Email Third Supplemental RFI - (7705) - PD Document
                    TRLED - Manufacturer Third Supplemental RFI -      Public
    55    10/5/2022 (7705) - PV                                        Version
                    Alno - Extension Request 3rd Supp Final - (7705) - Public
    56    10/6/2022 PD                                                 Document
                                                                       Public
    57   10/17/2022 Alno - 3rd Supp RFI - (7705) - PV                  Version
                                                                       Public
    58   10/17/2022 TRLED - Site Visit Engagement Letter - (7705) - PV Version
                                                                       Public
    59    11/3/2022 Alno Verification Exhibits Combined - (7705) - PV  Version
                    TRLED - Email Extension of Written Arguments       Public
    60    11/3/2022 Deadline - (7705) - PD                             Document
                                                                       Public
    61   12/21/2022 RAAAS - Verification Report - (7705) - PV          Version
                    TRLED - Deadline for Written Arguments - (7705) -  Public
    62   12/23/2022 PD                                                 Document
                                                                       Public
    63   12/23/2022 TRLED - Email of Verification Report - (7705) - PD Document
                                                                       Public
    64     1/4/2023 Alleger - Written Comments - (7705) - PD           Document
                                                                       Public
    65     1/4/2023 Scioto & Alno - Submission - (7705) - PV           Version
                                                                       Public
    66    1/19/2023 Alleger - Rebuttal Comments - (7705) - PD          Document
                                                                       Public
    67    1/19/2023 Alno & Scioto - Rebuttal Comments - (7705) - PV    Version
                    TRLED - Internal Email Determination of Evasion -  Public
    68    1/24/2023 (7705) - PV                                        Version
                                                                       Public
    69    1/31/2023 TRLED - Determination of Evasion - (7705) - PV     Version
                                                                       Public
    70    1/31/2023 TRLED - Email Final Determination - (7705) - PD    Document
                    RR – Request for Administrative Review Appendix 6  Public
    71    3/15/2023 – (7705) – PV                                      Version

                                    3
Case 1:23-cv-00140-LWW      Document 24        Filed 08/17/23       Page 6 of 59

                      EAPA INVESTIGATION NO. 7705

                                                                           Public
    72    3/15/2023 Scioto – Review Request – (7705) – PV                  Version
                    RR – Request for Administrative Review Appendix 8      Public
    73    3/15/2023 – (7705) – PV                                          Version
                                                                           Public
    74    3/15/2023 Scioto – Review Request Resubmission – (7705) – PV     Version
                    RR – Request for Administrative Review Part 13 –       Public
    75    3/15/2023 (7705) - PD                                            Document
                    RR – Request for Administrative Review Part 14 –       Public
    76    3/15/2023 (7705) – PD                                            Document
                    RR – Request for Administrative Review Part 2 –        Public
    77    3/16/2023 (7705) – PD                                            Document
                    RR – Request for Administrative Review Part 3 –        Public
    78    3/16/2023 (7705) – PD                                            Document
                    RR – Request for Administrative Review Part 1 –        Public
    79    3/17/2023 (7705) – PD                                            Document
                    Scioto – Review Request Submission – Final – (7705)    Public
    80    3/17/2023 – PV                                                   Version
                    RR – Received Timely Request for Administrative        Public
    81    3/20/2023 Review – (7705) – PD                                   Document
                    RR – Confirmation of Receipt of Response – (7705) –    Public
    82    3/30/2023 PD                                                     Document
                                                                           Public
    83     3/302023 Alleger – Response to Review Request – (7705) – PD     Document
                    RR – Admin Review Determination of Evasion             Public
    84    6/12/2023 Decision – (7705) – PV                                 Version
                    RR – Email of Final Administrative Decision – (7705)   Public
    85    6/12/2023 – PD                                                   Document




                                      4
Case 1:23-cv-00140-LWW   Document 24   Filed 08/17/23   Page 7 of 59




                  Public Document No. 69
      Case 1:23-cv-00140-LWW               Document 24           Filed 08/17/23        Page 8 of 59




PUBLIC VERSION

January 31, 2023

Cortney Morgan
On behalf of Scioto Valley Woodworking, Inc.
Husch Blackwell1801 Pennsylvania Ave NW, Suite 1000
Washington, DC 20006
cortney.morgan@huschblackwell.com

Luke Meisner
On behalf of the Kitchen Cabinet
Manufacturers Association
Schagrin Associates
900 Seventh Street, NW, Suite 500
Washington, D.C. 20001
lmeisner@schagrinassociates.com

Re: Notice of Determination as to Evasion - EAPA Case 7705


Pursuant to an examination of the record in Enforce and Protect Act (EAPA) Investigation 7705,
U.S. Customs and Border Protection (CBP) has determined there is substantial evidence that
Scioto Valley Woodworking, Inc. d/b/a Valleywood Cabinetry (Scioto or Importer) entered
merchandise covered by antidumping duty (AD) and countervailing duty (CVD) orders A-570-
106 and C-570-107 1 on wooden cabinets and vanities and components thereof (cabinets and
vanities) from the People’s Republic of China (China) into the customs territory of the United
States through evasion. Substantial evidence demonstrates Scioto imported Chinese-origin
cabinets and vanities that were transshipped to the United States with a claimed country of origin
of Malaysia. As a result, no cash deposits were applied to the merchandise at the time of entry.

Background




1
 See Wooden Cabinets and Vanities and Components Thereof from the People's Republic of China: Antidumping
Duty Order, 85 FR 22,126 (Dep’t Commerce Apr. 21, 2020); Wooden Cabinets and Vanities and Components
Thereof from the People's Republic of China: Countervailing Duty Order, 85 FR. 22,134 (Dep’t Commerce Apr. 21,
2020) (collectively, the Orders).
      Case 1:23-cv-00140-LWW                Document 24          Filed 08/17/23         Page 9 of 59




On February 3, 2022, the American Kitchen Cabinet Alliance (AKCA or the Alleger) filed an
allegation against Scioto. 2 One of Scioto’s customer Cabinets to Go (CTG) had cooperated with
AKCA in providing evidence that showed Alno Industry SDN BHD (Alno) 3 sold it transshipped
cabinets and vanities of Chinese-origin. On March 9, 2022, the Trade Remedy Law Enforcement
Directorate (TRLED), within CBP’s Office of Trade, acknowledged receipt of the properly filed
allegation by the Alleger, a domestic producer of cabinets and vanities. 4 TRLED found the
information provided in the Allegation reasonably suggested that Scioto entered covered
merchandise into the customs territory of the United States through evasion. Consequently, CBP
initiated an investigation on March 30, 2022, pursuant to Title IV, Section 421 of the Trade
Facilitation and Trade Enforcement Act of 2015, commonly referred to as the “EAPA.” 5

On July 6, 2022, after evaluating the information on the record at that time, CBP issued its
Notice of Initiation and Interim Measures. 6 TRLED determined that reasonable suspicion existed
that Scioto had evaded the Orders by claiming cabinets and vanities imported into the United
States were of Malaysian origin when it was actually of Chinese origin. 7 TRLED based its
determination on the sufficient information provided in the Allegation (e.g., Scioto’s admission
to transshipping in an ongoing civil suit) and the stock-keeping units (SKUs) known to be of
Chinese origin found in the CF-28 response. 8

Request for Information

On July 8, 2022, pursuant to 19 CFR 165.5, CBP sent a Request for Information (RFI) to Scioto
and to the claimed manufacturer, Alno, 9 about shipments to the Importer. 10 On August 10, 2022,
CBP received an RFI responses from Alno and Scioto to CBP’s July 8 RFI. On August 17, 2022,
CBP rejected Scioto’s and Alno’s RFI responses because the documents did not conform to
EAPA regulations and requested they refile them. 11 On August 25, 2022, Alno and Scioto timely




2
  See Letter from the AKCA, “Wooden Cabinets and Vanities and Components Thereof from the People’s
Republic of China: Request for an Investigation under the Enforce and Protect Act of Scioto Valley Woodworking,
Inc. d/b/a Valleywood Cabinetry,” dated February 3, 2022 (Allegation).
3
  Alno, the reported Malaysian manufacturer, is owned by the Chinese company Qingdao Haiyan Group Co., Ltd.
(Haiyan). Haiyan also owns Scioto.
4
  See email “EAPA 7705 - Receipt of EAPA Allegation 7705: Receipt of Properly Filed Allegation,” dated March 9,
2022.
5
  See Memorandum, “Initiation of Investigation for EAPA Case Number 7705 – Scioto Valley Woodworking, Inc.,”
dated March 30, 2022 (Initiation Notice).
6
  See Memorandum, “Notice of Initiation of Investigation and Interim Measures - EAPA Case 7705,” dated July 6,
2022 (NOI).
7
  Id.
8
  Id.
9
  Alno Industry SDN BHD (Alno), the reported Malaysian manufacturer, is owned by the Chinese company
Qingdao Haiyan Group Co., Ltd. (Haiyan). Haiyan also owns Scioto.
10
   See Memorandum, “EAPA CASE NUMBER 7705 - Request for Information,” dated July 8, 2022 (Alno RFI). See
Memorandum, “EAPA CASE NUMBER 7705 – Request for Information,” dated July 8, 2022 (Scioto RFI).
11
   See email “EAPA 7705: Rejection of Submission,” dated July 30, 2021.

                                                      2
     Case 1:23-cv-00140-LWW                 Document 24           Filed 08/17/23         Page 10 of 59




refiled their RFI responses. 12 On September 2, 2022, CBP sent a supplemental RFI to Alno. 13 On
September 8, 2022, Alno responded to Alno 1SRFI. 14 On September 9, 2022, CBP sent a second
supplemental RFI to Alno. 15 On September 12, 2022, CBP sent a supplemental RFI to Scioto. 16
On September 26, 2022, CBP received Alno’s second supplemental response. 17 On September
29, 2022, CBP received Scioto’s supplemental RFI response. 18 On October 5, 2022, CBP sent a
third supplemental RFI to Alno. 19 On October 17, 2022, CBP received Alno’s third supplemental
response. 20

Verification and Written Arguments

On October 17, 2022, CBP sent a site engagement letter to Alno regarding verification. 21 From
October 24, 2022, through October 27, 2022, CBP conducted an on-site verification of Alno in
Malaysia. 22 On December 22, 2022, CBP released the Verification Report to parties to the
investigation. 23 On January 4, 2022, CBP received written arguments from Scioto and the
Alleger. 24 On January 19, 2022, CBP received rebuttals arguments from Scioto and the
Alleger. 25

Analysis

Under 19 U.S.C. § 1517(c)(1)(A), to reach a final determination as to evasion, CBP must, “make
a determination, based on substantial evidence, with respect to whether such covered
merchandise entered into the customs territory of the United States through evasion.” Evasion is

12
   See letter from Alno, “EAPA Case No. 7705: Third Request for Extension for Response to CBP Questionnaires,”
dated August 25, 2022 (Alno RFI Response); see also letter from Scioto, “EAPA Case No. 7705: Third Request for
Extension for Response to CBP Questionnaires,” dated August 25, 2022 (Scioto RFI Response).
13
   See Memorandum “EAPA 7705; – First Supplemental Request for Information to Alno Industry SDN BHD,”
dated September 2, 2022 (Alno 1SRFI).
14
   See letter from Alno “EAPA Case No. 7705: First Supplemental Request for Information Questionnaire
Response,” dated September 8, 2022 (Alno 1SRFI Response).
15
   See Memorandum “EAPA 7705; – First Supplemental Request for Information to Alno Industry SDN BHD,”
dated September 9, 2022 (Alno 2SRFI).
16
   See Memorandum “EAPA 7705; – First Supplemental Request for Information to Alno Industry SDN BHD
{sic},” dated September 9, 2022 (Scioto 1SRFI).
17
   See letter from Alno, “EAPA Case No. 7705: Second Supplemental Request for Information to Alno Industry
SDN BHD,” dated September 22, 2022 (Alno 2SRFI Response).
18
   See letter from Scioto, “ EAPA Case No. 7705: Second Supplemental Request for Information to Scioto Valley
Woodworking, Inc. d/b/a/ Valleywood Cabinetry,” dated September 29, 2022 (Scioto 1SRFI Response).
19
   See Memorandum, “EAPA 7705; Third Supplemental Request for Information to Alno Industry SDN BHD,”
dated October 5, 2022 (Alno 3SRFI).
20
   See letter from Alno, “EAPA Case No. 7705: Third Supplemental Request for Information to Alno Industry SDN
BHD,” dated October 17, 2022 (Alno 3SRFI Response).
21
   See Letter from CBP, “Site Engagement Letter,” dated October 17, 2022.
22
   Id.; see also Memorandum, “On-Site Verification Report,” dated December 21, 2022 (Verification Report).
23
   See Verification Report.
24
   See letter from Alleger, “Investigation Concerning the Evasion of Antidumping and Countervailing Duty Orders:
Written Comments,” dated January 4, 2023 (Alleger Written Arguments); letter from Scioto, “EAPA Case No.
7705: Written Submission,” dated January 4, 2023 (Scioto Written Arguments).
25
   See letter from Alleger, “Investigation Concerning the Evasion of Antidumping and Countervailing Duty Orders:
Rebuttal Comments,” dated January 19, 2023 (Alleger Rebuttal Arguments); letter from Scioto, “EAPA Case No.
7705: Written Submission,” dated January 19, 2023 (Scioto Rebuttal Arguments).

                                                       3
     Case 1:23-cv-00140-LWW                Document 24           Filed 08/17/23         Page 11 of 59




defined as “the entry of covered merchandise into the customs territory of the United States for
consumption by means of any document or electronically transmitted data or information,
written or oral statement, or act that is material and false, or any omission that is material and
that results in any cash deposit or other security of any amount of applicable antidumping or
countervailing duties being reduced or not being applied with respect to the merchandise.” 26 As
discussed below, the record of this investigation indicates there is substantial evidence that
covered merchandise was entered by Scioto into the United States through evasion, resulting in
the avoidance of applicable AD/CVD cash deposits or other security.

The evidence demonstrates that Alno can produce wooden cabinets and vanities. However, Alno
itself has admitted in court documents that it transshipped Chinese-origin cabinets and vanities
through Malaysia to [ Name ] during the 27for this EAPA investigation. The questions before CBP,
then, are whether Alno manufactured all the cabinets and vanities it exported to Scioto, or
whether Alno exported transshipped, Chinese-origin cabinets and vanities to Scioto during the
POI.

Affiliations with China

Evidence on the record shows that Scioto and Alno have ties to China. From October 2018 to
October 2019, approximately when the Orders were implemented, Qingdao Haiyan Drouot
Household Co., Ltd. (Haiyan Drouot) exported wooden cabinets and vanities from its
manufacturing plant in Qingdao, China to Scioto in Waverly, Ohio. 28 Scioto, which is 100
percent owned by the Qingdao Haiyan Group Co., Ltd. (Haiyan Group), 29 acquired Alno on July
1, 2019, and the deal was official on September 4, 2019. 30 In July 2022, Scioto transferred all its
shares of Alno to the Haiyan Group. 31 The owner of Haiyan Group is Liyan Jiao, a Chinese
national residing in Qingdao, China. 32 This evidence shows that control of Alno and Scioto is the
Chinese company the Haiyan Group.

The RFI responses, and as confirmed at verification, show that Alno was designated as the
supplier for Scioto by the Haiyan Group in 2020. 33 Evidence on the record shows that due to the
Haiyan Group’s ownership of both Scioto and Alno, it has discretion over the budgets for both
companies’ operations, production, shipping schedules for all goods produced, and the purchase
prices. 34 Furthermore, the invoice terms between Alno and Scioto are designated by the Haiyan
Group and are based on the amount of profit generated by Scioto. 35 The record shows that if
Alno falls short, the company would go to its parent company of, i.e., the Haiyan Group, for

26
   See 19 CFR 165.1; see also 19 USC 1517(a)(5)(A).
27
   The POI are imports entered for consumption, or withdrawn from warehouse for consumption, from March 9,
2021, through the pendency of this investigation, i.e., January 31, 2023.
28
   See Verification Report, at 3.
29
   Haiyan Group also owns Haiyan Drouot
30
   Id.
31
   Id.
32
   Id., at 2. Liyan Jiao also owns 80% of Haiyan Drouot; therefore, Haiyan Drouot has common ownership with
Haiyan Group, Alno, and Scioto.
33
   Id., at 8.
34
   Id.
35
   See Verification Report, at 8.

                                                       4
     Case 1:23-cv-00140-LWW                Document 24           Filed 08/17/23         Page 12 of 59




money to stay solvent. 36 Additionally, company officials at Alno confirmed that Alno owes
substantial amount of money to the Haiyan Group for subsidizing Alno’s budget shortfalls. 37
Furthermore, many of the correspondences related to price updates, status of purchase orders,
shipment arrangements, etc., were between Scioto and the Haiyan Group, not between Scioto
and Alno. 38 This arrangement seems to indicate that Alno had a more closely linked production
process with the Haiyan Group than would be expected by the ownership structure in which
Scioto owned Alno until July 2022. 39 As a result, the evidence on the record establishes that the
Chinese company the Haiyan Group has Alno and Scioto.

Finally, Alno purchases supplies, e.g., wooden boards and medium density fiber (MDF) board,
from Chinese suppliers. 40 In particular, the primary input for cabinets and vanities, i.e., wooden
boards, come from the commonly owned Chinese company [ Name                     ]. 41 Additionally,
Alno’s department heads are Chinese nationals. 42 Taken in toto Alno is a Malaysian company
owned and controlled by a Chinese company, is operated under Chinese management, and is
supplied by Chinese suppliers. As a result, there is evidence on the record showing Alno’s and
Scioto’s ties to China.

Evidence of Transshipment

Evidence on the record shows that Alno transshipped Chinese origin wooden cabinets into the
United States. The Allegation was filed based on information provided by CTG in cooperation
with AKCA. A CTG quality control inspector (QCI) had discovered the transshipment scheme. 43
Evidence in the Allegation suggests Scioto engaged in evasion of AD/CV duties and that CTG
had filed a civil suit against supplier, Alno, and its U.S. affiliate, Scioto, in the U.S. District
Court for the Middle District of Tennessee based on the CTG’s QCI’s discovery and the Haiyan
Group’s admission of transshipment. 44 Evidence in the Allegation provided by CTG to the
Alleger shows Scioto’s evasion of the Orders, including direct admissions of facts that implicate
Scioto in an evasion scheme. 45 In its responses to CBP in this EAPA investigation, Alno stated
that it produced all goods shipped to Scioto. 46

However, as discussed in detail below, CBP finds substantial evidence on the record shows that
Alno transshipped more products than it initially admitted to in both the civil suit and in Alno’s
1SRFI Response. CBP officials had discovered an “additional warehouse” during verification
that was filled with finished goods from China and Malaysia that were packaged identically and
ready for shipment. 47 CBP officials had no way to differentiate the country of origin of the

36
   See Verification Report, at 8.
37
   Id., at 7.
38
   Id., at 9.
39
   Id.
40
   See Alno RFI Response, at 8.
41
   Id.
42
   See Verification Report, at 17.
43
   See Allegation, at Exhibit 12.
44
   See Allegation at 6. See also Cabinets To Go, LLC v. Qingdao Haiyan Grp. Co., 3:21-cv-00711 (M.D. Tenn.).
45
   Id., at 7.
46
   See generally Alno RFI Response, Alno 1SRFI Response, Alno 2SRFI Response, and Alno 3RFI Response.
47
   See Verification Report.

                                                       5
      Case 1:23-cv-00140-LWW                 Document 24         Filed 08/17/23   Page 13 of 59




finished packaged cabinets and vanities. 48 CBP was not able to verify or confum whether all
cabinets and vanities expo1ied to Scioto were produced on site in Malaysia or impo1ied from
China due to the company's vague record keeping. 49 Finally, CBP found doclllllents, i.e.,
inbound delive1y sheets (a doclllllent only used by Alno for items it had purchased), that showed
the delive1y of finished goods for Scioto.50 The inbound delive1y sheets contained SKUs and PO
nlllllbers for Scioto and were nearly identical to the ones for [ Name ] transshipped goods.51

Evidence on the record obtained by CBP confinns that much of the info1mation that [ Name] had
provided to AKCA in the Allegation regarding Alno 's transshipment was coITect. The Allegation
stated that Alno expo1ied cabinets and vanities of Chinese origin to one of its customers, i.e. ,
           52
[ Name ] .    In the Alno 1SRFI Response, Alno confumed that it did expo1i cabinets and vanities of
Chinese origin to [Name ]. 53 The Allegation identified certain SKUs from ce1iain purchase orders
(POs) as being of Chinese origin. 54 Alno confumed that the SKUs in question identified in the
Allegation had been transshipped during the POI. 55 The PO nlllllbers in the Allegation matched
doclllllents CBP obtained from Alno at verification.56 Alno admits that it transshipped to one of
its customers, i.e., [ Name ] , but claims that it produced all the cabinets and vanities in Malaysia to
all the other customers.57 When CBP asked if Alno produced all of the cabinets and vanities in
Malaysia, Alno stated that it did for all but [Name] customer. 58 When CBP asked in which
countries were the cabinets and vanities produced in for the sales during the POI, Alno stated
that products for [Name] customer were produced in [ Country ] and that all other products were
made in Malaysia.59 However, evidence on the record cast doubt on these statements from Alno.

At verification, CBP used the doclllllents that showed transshipment to [ Name ] a establish how
Alno tracked transshipped goods in its n01mal books and records. CBP officials asked how Alno
knew which invoices related to [ Name ] goods that it admitted to having transshipped as seen in
                   °
the Allegation. 6 Company officials stated that the info1mation is available on the Packing
Check-List from Haiyan Drouot. 61 Furthennore, the transshipped goods enter the raw material
warehouse on a Finished Product Inbound Delivery (FPID) sheet; this sheet shows the SKUs,
quantity, the reference PO, and clearly states finished product inbound delive1y (emphasis
added). 62 However, in Alno's RFI Response, it stated that it maintained 15 doclllllents during the
n01mal course of business for an average period of 18-months-one of those repo1ied doclllllents
was an "Inbound Order." 63 In its third supplemental response, Alno clarified by saying:

48
   Id.
49
   Id., at 17.
50 Id.
51 Compare Attachment at 22-25 with VE- 10.
52
   See generally Allegation.
53
   See Alno lSRFI Response.
54
   See Allegation, at Exhibit 12.
55
   See Alno lSRFI Response.
56 See Allegation, at Exhibit 12; see a /so VE- 11 .
51
   See Alno lSRFI Response.
58 Id.
59 Id.
60 See Verification Report, at 15. See attachment at 17-20

61 Id.
62 See e.g. , VE-10 at 20-30.
63 See RFI Response, at 29-30.


                                                             6
        Case 1:23-cv-00140-LWW               Document 24   Filed 08/17/23       Page 14 of 59




           Alno keeps the products tracked by outbound sheets (warehouse-out sheets) for
           production inputs and inbound sheets (warehouse-in sheets) for materials purchased
           (emphasis added).64

According to Alno 's response, the FPID sheets are for materials that it purchased; therefore, the
FPID sheet for the [ Name ] goods th at were known to be trnnsshipped were recorded according to
th eir SKU, Quantity, PO number, because Alno purchased them.

As can be seen in the Attachment to this notice, Scioto provided FPID sheets dated [ Date          ]
and [ Date       ] th at refote Alno's own statements of producing all the goods it shipped to
Scioto.65 The FPID references finished goods entering Alno 's raw material warehouse for POs
                                                 66
[    #s                                       ].    However, as noted in the Verification Report, th e
FPID sheet is only generated in one specific instance, i.e. , when goods enter the raw materials
warehouse.67 CBP officials asked both the General Manager and Chief Accountant when the
FPID sheet is generated, an d they stated that the FPID sheet is generated when purchased
materials are entered into the raw materials warehouse. 68 Again, CBP asked "The Inbound
Delive1y Sheet would not be generated without goods coming in?" The GM replied, "Yes, it is
only generated when goods are checked in." 69 Alno's own company officials stated it is for when
purchased goods are checked in, confnming what Alno said in its third supplemental response on
                      °
three occasions. 7 Fmiher, Alno's Chief Accountant confnmed that Alno does not track
invento1y movement during th e production process, which provides additional suppo1i that items
listed on th e FDIP are goods purchased by Alno.71 Finally, Alno also did not provide th e FPID
sheets for any of the sales traces that the CBP verification team conducted on site during the
verification, even though Alno had provided them in RFI responses. The only other time CBP
officials saw inbound sheets was for when raw materials that Alno had purchased and when Alno
transshipped finished cabinets and vanities from China to [Name ] , which generated FPID sheets
identical to the ones in question.72

It is impo1iant to note that the FPID sheets show the identical SKUs and Quantities from the POs
[                #s                         ] , as well as specifically identifying for each item th e
PO that it is allocated. 73 These FPID sheets mnTor the FPID sheets for [Name ]'s transshipped
goods. The documents are also signed by the same person, underscoring their authenticity.74 The
POs in question are on the record, an d each PO states they are from Scioto Cabinetry to Alno.75
They clearly show "Scioto Cabinetry" listed at the top, the ship to address matches Scioto's


64
     See Alno Third Supplemental Response, at 16.
65 See Attachment, at 22-25.
66
   Id.
67
   See Verification Report, at 14.
68 Id.
69 Id.
10 Id.
71
   Id., at 6-7.
72 See e.g. , VE- 10 at 20-30.
73 See Attachment, at 22-25.

74 Id.
15 Id.


                                                    7
         Case 1:23-cv-00140-LWW            Document 24          Filed 08/17/23         Page 15 of 59




reported address in Ohio, an d the vendor listed is "Alno fudustiy SDN BHD."76 The POs also
show the same SKUs, which are described as various finished cabinets and vanities, as those
having been purchased by Alno from [ Name                ] with the same quantities; this means that
the FPIDs in question should not exist if Alno did not tl'ansship goods for customers other than
          77
[ Name ].    Due to the existence ofFPID sheets containing SKUs and POs for Scioto, the fact that
this matches the documents used by Alno in its n01mal course of business to distinguish products
th at were ti·ansshipped from China through Malaysia for [ Name ] , and Alno's own statements that
inbound sheets are for materials purchased, CBP dete1mines that this is significant evidence that
Alno ti·ansshipped goods that were impo1ted by Scioto during the POI.

As discussed above the inbound deliver sheets, are how Alno ti·acks transshipped finished goods
coming from China through their Malaysian facto1y. The finished SKUs and PO numbers on the
FPID sheet shows that ti·ansshipped finished goods entered its warehouse and th en were shipped
on to Scioto. CBP officials found FPID sheets for the ti·ansshipped goods to [Name ] that were
identical to FPID sheets that were for Scioto an d matched Scioto's POs. Taken together, these
documents are evidence that Alno had purchased Chinese-origin cabinets an d vanities and had
th em delivered to its "raw materials" warehouse to be later expo1ted to Scioto in a ti·ansshipping
scheme to evade AD/CV duties.

Reliability of[ Name                J Sales Documents
As discussed in detail below, evidence on the record shows that Alno has submitted to CBP
inaccurate info1mation an d documents filled with discrepancies. Evidence on the record shows
                                                                                                        78
th at Alno had provided inaccurate info1mation from [ Name                       ] that is unreliable. At
verification, CBP discovered that the unit ti·ansfer prices between [ Name                       ] an d Alno
did not reflect market prices and fluctuated dependent on whichever company needed more
funds.79 The CBP verification team asked the Chief Accountant if Alno could explain the
substantial price difference between the raw materials purchased from [ Name                           ] in
[     Date              ] and [ Date       °
                                           ].
                                              8
                                                  For example, on fuvoice [ #              ], dated [
  Date     ] , th e price for birch and hick01y was$[#         ] an d$[ # ], respectively, but on fuvoice
[ #                 ], dated [    Date        ] , the price for birch and hicko1y was $[ #      ] and
$[ # ]. 8 1 Alno's Chief Accountant stated that the pricing depends on the product mix in the
container. 82 CBP finds this response unsatisfacto1y as discussed in detail below, th ere is no way
to tell what th e product mix in the container actually is for any of [ Name                     ]'s shipments.

Additionally, invoices from [ Name             ] use vague invoice descriptions that do not specify
or categorize different sizes of wood or specific hardware. 83 All purchases of wood and pa1t s
were found to be under one of the six descriptions below, which uses only four item numbers:


76 Id.
11 Id.
78 See generally Verification Report.
79 See Verification Report, at 5.

80 Id.
81 Id.
82 Id.
83
     Id., at 4-5.

                                                      8
           Case 1:23-cv-00140-LWW       Document 24                 Filed 08/17/23   Page 16 of 59




           • [ Description                        ];
           • [ Description                             ];
           • [ Description                   ];
           • [ Description                                         ];
           • [ Description                                 ]; or
           • [ Description                         ]. 84


Evidence on the record shows that [ Name                  ] was also the supplier of the finished
cabinets and vanities that were trnnsshipped to [ Name ]. 85 For the trnnsshipped goods to [ Name ] ,
the invoices from [ Name             ] listed them under either
[     Description                      ] or [   Description                               ] . 86 These
vague descriptions mean CBP cannot confnm the contents of these purchases based solely on the
commercial invoices, packing lists, bill of ladings, etc., from the supplier [ Name                  ] to
identify shipments that had transshipped goods. At verification, CBP asked how Alno knew
which shipments contained transshipped goods, an d company officials stated that the info1mation
                                                                       87
is available on the Packing Check-List from [ Name                  ].


Fmthennore, as noted in the Verification Repo11, [ Name                    ] invoices all contain the
quantity in te1ms of pieces in the first collllllll of its invoices, but the quantity in the second
column varied between three types: 1) ca1tons; 2) packages; an d 3) pallets. 88 Additionally, the
quantity types would not always be consistent among invoices from the Chinese supplier. 89 This
also obscures the volume and types of goods purchased from the Chinese supplier. When listed
as pallets, the Packing List appeared to support what the invoice claimed, but in some cases,
when packages or caitons were used as the quantity type, the matching Packing Check-Lists
would contain SKUs of finished goods which then also had a related FPID sheet. 90 The
inconsistent ways of documenting invoice quantities, coupled with vague invoice an d packing
list descriptions, seem indicative of [ Name                 ] and Alno attempting to withhold
info1mation from CBP to obtain a favorable outcome in this investigation.

Also, at verification CBP officials noticed glass doors listed on invoices from Alno to [ Name ] and
asked about the glass needed to make them. 91 The verification team did not see or heai· Alno
mention glass during the production demonstration. 92 Company officials confmned that Alno
                                                                            93
does not make glass doors and obtains the glass from [ Name              ].    CBP asked Alno to
provide two years of invoices for the purchase of the glass at our request. 94 CBP officials found
                                                             95
that glass was not listed on the [ Name           ] invoices. The CBP verification teain leained



84
     Id.
85 See VE-10.

86 Id.
87
     See Verification Report, at 15.
88 Id., see also Attachment, at 20.

89 Id.
90
     See VE-10.
91 See Verification Report, at 13.

92 Id.
93 Id.
94 Id.
95 Id.


                                                       9
          Case 1:23-cv-00140-LWW            Document 24     Filed 08/17/23        Page 17 of 59




th at th e glass is ordered by calling th e par ent company, i.e., Haiyan Group, and no purchase
orders are issued so there is no record of how much glass Alno ordered. 96 The glass is not
separately identified on the raw material invoices and is inco1Tectly listed as [
  Description           ] , which have a value as low as$[ #       ] per screw. There are no invento1y
records for glass when it is received.97 When imported into Malaysia, the glass is either not
declared or declared as hardware/screws. 98 The CBP verification team noted the process, as
described by company officials, shows no evidence that the glass entered the production process
at any point. 99 The fact that glass shipments to Alno are either not declared or declared as
something else is evidence that supplier [ Name                 ] is willing to omit or obfuscate
impo1tant info1m ation in pape1work, evidence which casts doubt on the reliability of the
supplier's documents to use as proof that Alno did not transship cabinets an d vanities of Chinese
on gm.

Finally, the Allegation specifically identified container [ #                 ] as containing fmished
                                                        100
goods aiTiving at Alno for transshipment to [ Name ]. Additionally, in the Allegation was a
picture provided by the QCI of the packaged cabinets and vanities in the container. 101 CBP
officials were able to verify that the packaging of the goods in the container was like the
packaging of the unshipped [Name ] fmished products in the "Additional Warehouse" at Alno
when inspected during the verification. 102 Fmt he1more, the Verification Repo1t noted that the
packaging in the container did not match anything in the Raw Materials Warehouse on site,
which is indicative that the items in the container ai·e indeed finished goods and not raw
materials. 103 CBP officials were also able to verify that the [ Name               ] commercial
invoice, packing list, and Packing Check-List related to container [ #                    ] listed the
                                               104
goods as [ Description                      ].     The pape1work provided by Alno conflicts with the
sworn statement by the [ Name ] QCI and with the photo provided in the Allegation that the
container was loaded with fmished goods transshipped via China. 105 In the Verification Repo1t,
CBP identified that it was this container an d info1m ation th at caused [ Name ] to ask for Scioto to
verify the countiy of origin of Alno's cabinets and th at caused the subsequent admission from
the Haiyan Group of providing ti·ansshipped goods. 106 While this discrepancy alone is not
defmitive proof of transshipment to other customers occurring, [ Name                   ] not declaring
or inisclassifying goods and other evidence on the record substantiates the QCI claims in the
Allegation. This is a sti·ong indicator th at [ Name           ] 's an d Alno 's pape1work is
unreliable.

Based on the aforementioned reasons, CBP dete1mines that the pape1work from supplier
[ Name           ] provided by Alno is unreliable evidence that transshipment was not occmTing



96 Id.
91 Id.
98 Id.
99 Id.
100
      See Allegation, at Exhibit 11.
101 Id.
102 See Verification Report, at 17.
103 Id.
104 See VE- 10, see also Attachment at 21
105 Id.
106 See Verification Report, at 17.
      Case 1:23-cv-00140-LWW                 Document 24           Filed 08/17/23          Page 18 of 59




at Alno. Combining this information with Alno’s admission to transshipping cabinets and
vanities of Chinese-origin to [ Name ] during the POI, provides strong support for CBP’s
determination that there is substantial evidence that Alno was transshipping cabinets and vanities
to Scioto.

Adverse Inferences

EAPA regulation at 19 CFR 165.6(a) states:

         If . . . the importer, or the foreign producer or exporter of the covered merchandise fails to
         cooperate and comply to the best of its ability with a request for information made by CBP,
         CBP may apply an inference adverse to the interests of that party in selecting from among the
         facts otherwise available to make the determination as to evasion. . . .

CBP finds that Alno failed to act to the best of its ability in this EAPA investigation by Alno’s
failure to cooperate and comply with CBP at verification. CBP encountered the following issues
at verification:

         •    CBP discovered the existence of an additional warehouse that was not previously
              reported. This discovery happened after the GM was asked and provided inaccurate
              information that no other location existed. 107
         •    CBP had to ask company officials multiple times to provide documents and each time
              discovered that documents were missing, e.g., Packing-Check Lists. 108
         •    Alno attempted to provide CBP officials unrelated or irrelevant documents that were
              unsolicited to cover for their error of not providing certain documents after being
              asked multiple times. 109
         •    CBP was unsure the missing emails provided to CBP at verification were original
              emails since CBP was not provided with access to the original files despite asking for
              access. 110

As a result of this lack of cooperation, CBP was unable to rely on the records Alno kept in its
normal course of business and unable to fully understand the inventory management processes at
Alno. Therefore, CBP is applying adverse inferences in drawing conclusions from other
information on the record. CBP is relying on information in the Allegation and obtained from
Alno, to determine all cabinets and vanities exported to the United States to Scioto are from
China. 111 Specifically, CBP is relying on the information provided by the Alleger in the
Allegation, i.e., litigation documents showing Alno transshipped cabinets and vanities to CTG. 112
CBP is also relying on other evidence on the record obtained from Alno, as described above, that
shows it transshipped cabinets and vanities of Chinese-origin to Scioto specifically during the
POI that were entered into the United States. 113 Based on all this information, CBP finds that all

107
    See Verification Report, at 9-10.
108
    Id., at 15-16.
109
    Id., at 16.
110
    Id., at 10-11.
111
    See Allegation.
112
    Id., at Exhibit 4.
113
    See e.g., Alno 1SRFI Response.

                                                        11
          Case 1:23-cv-00140-LWW               Document 24    Filed 08/17/23       Page 19 of 59




of the cabinets and vanities that Scioto imported into the United States from Alno are of Chinese
origin.

Written Arguments

      1. Adverse Inferences

Alleger:

      •    Alno failed to act to the best of its ability, because CBP could not verify the accuracy of
           critical information. Therefore, the application of adverse inferences is warranted. 114
      •    Adverse inference should apply to all of Alno’s exports to the United States not just the
           ones to Scioto. 115

Scioto:

      •    A determination based on adverse facts available is not supported by information on the
           record. 116
      •    Alno and Scioto have cooperated to the best of their ability. 117
      •    The discrepancies at issue are of not material issue. 118

CBP Position:

We disagree with Scioto based on the reasons set forth above.

      2. Forced Labor

Alleger:

      •    CBP should self-initiate a forced labor probe in accordance with Section 307 of the U.S.
           Tariff Act of 1930, due to its verification team discovering that Alno retains foreign
           workers’ passports. 119
      •    Passport retention is a strong indicator of forced labor, which is pervasive in Malaysia. 120

Scioto:
   • CBP should not self-initiate a forced labor probe because keeping worker passports alone
        is an insufficient justification, based on the International Labor Organization’s (ILO)
        eleven indicators of forced labor. 121

114
    See Alleger Written Arguments, at 4-9.
115
    Id., at 9.
116
    See Scioto Rebuttal Arguments, at 2-13.
117
    Id.
118
    Id.
119
    See Alleger Written Arguments, at 10-12.
120
    Id., at 11.
121
    See Scioto Rebuttal Arguments, at 7-8.

                                                      12
          Case 1:23-cv-00140-LWW              Document 24   Filed 08/17/23       Page 20 of 59




      •    Alno only keeps the foreign workers’ passports for security reasons, and the workers can
           retrieve them at any time. 122

CBP Position:

The purpose of the verification is for CBP to validate the information and data submitted by
either importers or foreign manufacturers participating in an EAPA investigation. As such, CBP
was on site to validate information in Alno’s RFI responses to aide CBP in its determination of
whether Alno produced the cabinets and vanities that it exported to Scioto, not to assess labor
conditions. CBP took note of the passport retention, but it is not a factor CBP will consider for
this EAPA investigation.

      3. Verification Report

Scioto:

      •    There are several issues with CBP’s Verification Report. 123
      •    CBP either misunderstood, reported descriptions are inaccurate, or its descriptions require
           clarification. 124
      •    It was unreasonable for CBP to not accept additional documents as Alno was
           overwhelmed by the numerous document requests, and CBP should have expected
           mistakes to happen. 125
      •    CBP should not presume that information in the Allegation is entirely accurate. 126

Alleger:
    • CBP should reject Scioto’s written arguments because it is an attempt to rebut and clarify
       CBP’s on site Verification Report with new factual information that was not previously
       on the record. 127
    • CBP has rejected such attempts in the past and those decisions have been upheld by the
       Court of International Trade. 128

CBP Position:

It is the responsibility of Parties to the Investigation and Interested Parties, as defined by 19 CFR
165.1, to ensure the information they place on the record or provide to CBP is complete, true,
and accurate. In the same vein, it is also their responsibility to make sure that the information
they are conveying is presented clearly. This continues to hold true when CBP is conducting
verification. As stated above, the purpose of verification is for CBP to validate the information
and data submitted by parties, and verification allows the parties being verified to fully explain

122
    Id.
123
    See Scioto Written Arguments, at 1-7.
124
    Id.
125
    Id. at 6.
126
    Id., at 7.
127
    See Alleger Rebuttal Arguments, at 1-4.
128
    Id.

                                                     13
        Case 1:23-cv-00140-LWW                Document 24   Filed 08/17/23      Page 21 of 59




th eir record responses. In this instance, CBP was on site to validate infon nation in Alno's RFI
responses to aide CBP in its detennination of wheth er Alno produced the cabinets and vanities
th at it exported to Scioto. The Verification Repo1i written by CBP and released to paiiies was the
result of the collaboration of all seven CBP officials that attended verification. All seven officials
agree that the repo1i released to paiiies is a hue and accurate account of what was observed,
verified, and happened at verification.

CBP 's verification team followed its standard practice for allowing paiiies to take co1Tective
action for any deficiency or non-confonning submission found at verification. At verification,
after a CBP official asked for an item or items and discovered a deficiency, CBP officials
allowed Alno th e oppo1iunity to take co1Tective action. CBP officials only detennined that
anything offered after that co1Tective action was already taken was non-confonning. Allowing a
paiiy to take repeated co1Tective actions for an identified deficiency shifts the responsibility for
the accuracy and completeness of info1m ation on the record from the manufacturer to CBP,
whose responsibility in the matter is to maintain the record and dete1mine its validity. 129 CBP did
not force Alno to provide requested infonnation when it knew was incomplete, nor did it set any
time limits to provide the infon nation during verification.130 Alno provided th e info1m ation only
after it deemed it complete and ready to present to CBP, as evident by th e CBP officials asking if
Alno provided eve1ything that CBP requested.131 CBP believes that Alno was afforded sufficient
time during the verification to present the info1m ation requested from it, but that Alno often
failed to take the time and eff01i to ensure completeness, and instead relied on CBP to do it for
th em.

Finally, CBP finds that much of the infonnation in the Allegation was accurate based on Alno's
responses and infonnation reviewed during the on-site verification. The Allegation stated that
Alno expolied cabinets and vanities of Chinese-origin to one of its customers, i.e. , CTG. 132 In the
Alno 1SRFI Response, Alno confnm ed that it did expo1i cabinets and vanities of Chinese-origin
to [ Name ]. 133 The Allegation identified ce1iain SKUs from ce1iain POs as being of Chinese
origin. 134 Alno confnm ed that the SKUs in question identified in the Allegation had been
ti·ansshipped during the POI. 135 The PO numbers in the Allegation matched documents CBP
obtained from Alno at verification. 136 The container number in question, i.e. , [ #              ],
did indeed aITive at Alno ai·ound the time it was claimed based on documents obtained at
verification. 137 The pictures of the packaged cabinets and vanities in th e container taken by the
QCI matched unshipped packaged cabinets and vanities for [ Name ] found in the "Additional
Warehouse." 138 Therefore, based on substantial evidence on the record, CBP finds no reason to
question the accuracy of th e QCI repo1i provided in th e Allegation.


129
      See 19 CFR 165.21, see also 19 CFR 165.25.
130 See generally Verification Repo1t.

13! See e.g., Verification Report, at 15
132
    See generally Allegation.
133
    See Alno 1SRFI Response.
134
    See Allegation, at Exhibit 12.
135
    See Alno 1SRFI Response.
136 See Allegation, at Exhibit 12; see also VE-11.

m Id.
138 See Verification Report.


                                                     14
          Case 1:23-cv-00140-LWW             Document 24            Filed 08/17/23          Page 22 of 59




      4. Determination

Scioto:

      •    A negative determination should be made as CBP has not met the requisite standard of
           proof to find evasion in this investigation. 139
      •    The record establishes that the only covered merchandise was sent to [Name ]. 140

Alleger:

      •    Substantial evidence supports a finding of evasion. 141
      •    CBP uncovered a wide array of discrepancies during the investigation. 142


CBP Position:

Based on the analysis described in detail above, CBP believes there is substantial evidence on the
record to show that Alno exported transshipped goods of Chinese-origin through Malaysia and
that Scioto imported those products into the United States.

      5. Due Process

Scioto:

      •    Scioto’ and Alno’s due process rights were violated by failing to provide its counsel with
           confidential record information. 143

Alleger:

      •    No due process rights were violated based on Court of International Trade (CIT)
           decisions, because parties received public versions with public summaries. 144

CBP Position:

The CIT has already opined on the rights of parties in EAPA investigations to have access to
business confidential information. The CIT has found that the lack of access to confidential
information is not a due process issue. 145 In Royal Brush Mfg., Inc. v. United States, the CIT

139
    See Scioto Written Arguments, at 7-9.
140
    Id.
141
    See Alleger Rebuttal Arguments, at 5-7.
142
    Id.
143
    See Scioto Written Arguments, at 9-10.
144
    See Alleger Rebuttal Arguments, at 7-9.
145
    See Royal Brush Mfg., Inc. v. United States, 545 F. Supp. 3d 1357 at 1369 (Ct. Int’l Trade Oct. 29, 2021) (Royal
Brush) (rejecting a similar claim and holding that CBP’s withholding of confidential information does not violate a
respondent’s due process rights where “CBP has complied with 19 CFR 165.4 by providing necessary public
summaries of the confidential information….”).

                                                         15
      Case 1:23-cv-00140-LWW                 Document 24            Filed 08/17/23          Page 23 of 59




found that a party is only entitled to public summaries of the business confidential information,
pursuant to 19 CFR 165.4(a)(1) and (e). The parties do not otherwise have a right to review
business confidential information, as the statute and regulations do not provide for such. CBP has
provided Scioto’s counsel with the requisite public version of documents that contained public
summaries of redacted business confidential information. Therefore, CBP has ensured that due
process had been followed during the investigation in accordance with 19 CFR 165.4.

Determination as to Evasion

The previously discussed facts on the record establish that there is substantial evidence that
Chinese-origin cabinets and vanities were imported into the United States by evasion,
specifically via transshipment through Malaysia. Additionally, by application of adverse
inferences, relying on evidence provided in the Allegation and obtained from Alno, CBP
determines that all the cabinets and vanities exported by Alno via Malaysia to Scioto were of
Chinese origin. Furthermore, evidence on the record indicates that Scioto entered the Chinese-
origin cabinets and vanities into the United States as type 01 entries and evaded the payment of
AD/CV duties on cabinets and vanities from China, including by misrepresenting the cabinets
and vanities as Malaysian in origin. 146 The cabinets and vanities that Scioto entered from Alno
during the period of investigation should have been subject to the AD/CVD rates on cabinets and
vanities from China.

Actions Taken Pursuant to the Affirmative Determination as to Evasion

In light of CBP’s determination that substantial evidence demonstrates that the Importer entered
covered merchandise into the customs territory of the United States through evasion, and
pursuant to 19 U.S.C. § 1517(d) and 19 CFR 165.28, CBP will suspend or continue to suspend
the entries covered by this investigation, until instructed to liquidate. For those entries previously
extended in accordance with Interim Measures, CBP will rate adjust and change those entries to
type 03 and continue suspension until instructed to liquidate these entries. CBP will continue to
evaluate the Importer’s continuous bonds in accordance with CBP’s policies. None of the above
actions precludes CBP or other agencies from pursuing additional enforcement actions or
penalties.




146
   Entry type “01” is the code that CBP requires importers use to designate a standard consumption entry that is not
subject to AD/CVD duties. See https://www.cbp.gov/trade/automated/ace-transaction-details.

                                                        16
Sincerely,
   --            t
          7
    ~', l .:/ ~'" /
Victoria Cho
(A) Director, Enforcement Operations Division
Trade Remedy Law Enforcement Directorate
CBP Office of Trade
                                                17
    Page 24 of 59      Filed 08/17/23     Document 24   Case 1:23-cv-00140-LWW
    Case 1:23-cv-00140-LWW          Document 24        Filed 08/17/23       Page 25 of 59




Attachment

Packing check list showing transshipped SKUs, snip from V E-1 0, page 1sr




                        Snip




                                              18
    Case 1:23-cv-00140-LWW         Document 24       Filed 08/17/23     Page 26 of 59




FPID showing finished goods from the packing check-list aniving, snip from VE-10, page 2or




                                 snip
    Case 1:23-cv-00140-LWW             Document 24   Filed 08/17/23     Page 27 of 59




Information provided to CTG showing transshipped goods matching information in the previous
two pages snip from Allegation Exhibit 12 [




                                snip




                                                                                          ]
     Case 1:23-cv-00140-LWW             Document 24     Filed 08/17/23   Page 28 of 59




Invoice showing qty inconsistencies, snip from VE-1 7, page I [




                                 snip




Invoice showing qty inconsistencies, snip from VE-1 7, page 5 [




                          snip




Invoice showing qty inconsistencies, snip from VE-1 7, page 13 [




                   snip
     Case 1:23-cv-00140-LWW           Document 24         Filed 08/17/23      Page 29 of 59




Packing Check-list for container identified in allegation, snip from VE-I 0, pasze 12r




                           snip




                                                22
    Case 1:23-cv-00140-LWW         Document 24       Filed 08/17/23    Page 30 of 59




FPID showing purchased finished goods aniving, snip from Alno RFI Response Exhibit IV [




                                snip




                                            23
    Case 1:23-cv-00140-LWW         Document 24       Filed 08/17/23    Page 31 of 59




PO from customer matchiniz the FPID. snio from Alno RFI Resoonse Exhibit IV f




                                     snip




                                            24
    Case 1:23-cv-00140-LWW            Document 24      Filed 08/17/23   Page 32 of 59




PO from customer matching the FPID, snip from VE-4 [




                               snip




]




                                             25
    Case 1:23-cv-00140-LWW       Document 24   Filed 08/17/23   Page 33 of 59




Snip from Am.o 's RFI Response, Exhibit 10[




                         snip of FPID




]




                                          26
Case 1:23-cv-00140-LWW   Document 24   Filed 08/17/23   Page 34 of 59




                  Public Document No. 84
      Case 1:23-cv-00140-LWW                Document 24            Filed 08/17/23          Page 35 of 59
                                              PUBLIC VERSION



                                                                                             90 K Street NE
                                                                                             Washington, DC 20002

                                                                                              U.S. Customs and
                                                                                              Border Protection

June 12, 2023

PUBLIC VERSION

OT: RR:BSTC:PEN H330744 GCS

Scioto Valley Woodworking, Inc. d/b/a Valleywood Cabinetry
c/o Jeffrey S. Neeley, Esq.
Husch Blackwell, LLP
1801 Pennsylvania Ave., NW,
Suite 1000
Washington, D.C. 20006

American I<:itchen Cabinet Alliance
c/ o Luke A. Meisner, Esq.
Schagrin Associates
900 Seventh Street, NW,
Suite 500
Washington, DC 20001

Re:     Enforce and Protect Act ("EAPA") Case Number 7705; Wooden Cabinets and Vanities and
        Components Thereeffrom the People's R epublic if China: Antidumping Duty Orde1~ 85 Fed. Reg.
        22,126 (Apr. 21, 2020) and Wooden Cabinets and Vanities and Components Thereeffivm the
        People's Republic if China: Countervailing Duty 01der~ 85 Fed. Reg. 22,134 (Apr. 21, 2020);
        Scioto Valley Woodworking, Inc. d/b / a Valleywood Cabinetry; 19 U.S. C. § 151 7

Dear Mr. Neeley and Mr. Meisner:

       This is in response to the request for de novo administrative review of a determination of
evasion dated January 31, 2023, made by the Trade Remedy Law Enforcement Directorate
("TRLED"), Office of Trade ("OT"), U.S. Customs and Border Protection ("CBP"), pursuant to
19 U.S.C. § 1517(c), EAPA Case Number 7705 ("January 31st Determination"). 1 Scioto Valley
Woodworking, Inc. d/b/a Valleywood Cabinetry's ("Scioto") request for review, dated March 15,




1 See Notice of Determination as to Evasion in EAPA Case Number 7705 (Public Version), dated January 31, 2023,

available at: https://www.cbp.gov/sites/default/files/assets/documents/2023-Feb/01 -31 -2023%20-%20TRLED%20-
%20Determination%20of%20Evasion%20%28508%20COMPLAINT%29%20-%20%287705%29%20-%20PV.pdf:
(Last accessed June 7, 2023).

                                                         1
      Case 1:23-cv-00140-LWW                    Document 24             Filed 08/17/23           Page 36 of 59
                                                 PUBLIC VERSION


2023, and its revised submissions, dated March 15, 2023, 2 and March 17, 2023, 3 were submitted to
CBP, OT, Regulations & Rulings ("RR"), by Husch Blackwell, LLP, on behalf of Scioto. The
request was filed pursuant to 19 U.S.C. § 1517(£) and 19 CFR § 165.41(a). No other parties
submitted requests for review. The American Kitchen Cabinet Alliance ("AKCA") filed a response
to the request for review on March 30, 2023. This matter also involves several other companies, as
follows. Alno Industry SDN BHD ("Alno") is a company located in Malaysia, which Scioto alleges
is the manufacturer of the subject merchandise. Qingdao Haiyan Group Co. Ltd., Qingdao Druout
Woodworking Co., and Qingdao Haiyan Drouot Household Co., Ltd. are Chinese companies
related to each other and to Alno and Scioto, which are commonly owned by a Chinese national
residing in Qingdao, China, and which TRLED and AKCA allege are the true manufacturers of the
subject merchandise.

     I.       Background

         Inasmuch as the facts in this case were fully set forth in the January 31st Determination, we
will not repeat the entire factual history herein. In brief, according to the record evidence, on March
30, 2022, TRLED initiated a formal investigation under Title N, Section 421 of the Trade
Facilitation and Trade Enforcement Act of 2015 ("TFTEA"), in response to an allegation of
evasion.

         On February 3, 2022, AKCA, a coalition of domestic producers of wooden cabinets and
vanities, filed an EAPA allegation against Scioto. CBP acknowledged receipt of the allegation on
March 9, 2022.

       AKCA alleged that Scioto entered wooden cabinets and vanities and components thereof
(''WCV") of Chinese origin into the United States by means of transshipment through Malaysia to
evade the payment of antidumping and countervailing duties ("AD / CVD") on WCV from the
People's Republic of China ("China"), as required in Case Nos. A-570-106 and C-570-107. 4




2
  Scioto's original request, submitted on March 15, 2023, listed Alno Industry SDN BHD ("Alno"), the alleged
manufacturer of the products at issue, and Scioto, as the parties requesting review. Our office informed Scioto that
pursuant to 19 U .S.C. § 1517(£)(1) and 19 CFR § 165.41 (a), requests for administrative review may only be filed by
parties to the investigation. Parties to the investigation are defined in 19 CFR § 165.1 as " the interested party (or
interested parties, in the case of consolidation pursuant to § 165.13) who filed the allegation of evasion and the importer
(or importers, in the case of consolidation pursuant to § 165.13) who allegedly engaged in evasion." Further, we notified
Scioto that " {a} foreign manufacturer, producer, or exporter, such as Alno Industry SDN BHD, does not have standing
under the statute and regulations to file a Request for Administrative Review and we are unable to accept your
submission as currently provided." Later that day on March 15, 2023, Scioto removed Alno from the request and
resubmitted the request to our office listing only Scioto as the requestor.
3 On March 17, 2023, Scioto resubmitted the public version of its request, which added public summaries of confidential

information.
4 See Notice of Initiation of Investigation and Interim Measures: EAPA Case 7705 (Public Version), dated July 6, 2022

("Notice of Initiation"), available at: https://www.cbp.gov/trade/trade-enforcement!tftea/eapa/recent-eapa-
actions / eapa -action-notice-investigation-and-interim-measures-eapa-case-77 OS-wooden-cabinets-and (Last accessed
June 7, 2023).

                                                             2
      Case 1:23-cv-00140-LWW                      Document 24              Filed 08/17/23             Page 37 of 59
                                                   PUBLIC VERSION


        The allegation of evasion pertained to the AD/CVD Orders issued by the U.S. Department
of Commerce ("Commerce") on imports ofWCV from China. 5 Commerce defined the scope of
the relevant AD/CVD Orders, in pertinent part, as follows:

         {t}he merchandise subject to this order consists of wooden cabinets and vanities that
         are for permanent installation (including floor mounted, wall mounted, ceiling hung
         or by attachment of plumbing), and wooden components thereof. Wooden cabinets
         and vanities and wooden components are made substantially of wood products,
         including solid wood and engineered wood products (including those made from
         wood particles, fibers, or other wooden materials such as plywood, strand board, block
         board, particle board, or fiberboard), or bamboo. Wooden cabinets and vanities
         consist of a cabinet box (which typically includes a top, bottom, sides, back, base
         blockers, ends / end panels, stretcher rails, toe kicks, and/or shelves) and may or may
         not include a frame, door, drawers and/ or shelves. Subject merchandise includes
         wooden cabinets and vanities with or without wood veneers, wood, paper or other
         overlays, or laminates, with or without non-wood components or trim such as metal,
         marble, glass, plastic, or other resins, whether or not surface finished or unfinished,
         and whether or not completed ...

         Subject merchandise includes all unassembled, assembled and/ or "ready to assemble"
         (RTA) wooden cabinets and vanities, also commonly known as "flat packs," except to
         the extent such merchandise is already covered by the scope of antidumping and
         countervailing duty orders on H ardJJJood PfJJvoodfivm the People's Republic ef China ...

         Subject merchandise also includes wooden cabinets and vanities and in-scope
         components that have been further processed in a third country, including but not
         limited to one or more of the following: trimming, cutting, notching, punching,
         drilling, painting, staining, finishing, assembly, or any other processing that would not
         otherwise remove the merchandise from the scope of the order if performed in the
         country of manufacture of the in-scope product ...

         Imports of subject merchandise are classified under H armonized Tariff Schedule of
         the United States (HTSUS) statistical numbers 9403.40.9060 and 9403.60.8081. The
         subject component parts of wooden cabinets and vanities may be entered into the
         United States under HTSUS statistical number 9403.90.7080. Although the HTSUS
         subheadings are provided for convenience and customs purposes, the written
         description of the scope of this order is dis positive. 6

         On July 6, 2022, in accordance with 19 CFR § 165.24, CBP issued a Notice oflnitiation to
all parties to the investigation, stating that the investigation had begun on March 30, 2022, and
notifying the parties of CB P's decision to take interim measures based upon reasonable suspicion
that the importer, Scioto, entered covered merchandise into the customs territory of the United



5
  See Wooden Cabinets and Vanities and Components Thereoffrom the People's Republic of China: Antidumping Du!)! Order, 85 Fed.
Reg. 22,126 (Apr. 21, 2020) and Wooden Cabinets and Vanities and Components Thereoffrom the People's Republic of China:
Countervailing Du!)! Order, 85 Fed. Reg. 22,134 (Apr. 21, 2020) ("AD / CVD Orders").
6
  Id. (emphasis in the original and internal citations omitted).

                                                                3
      Case 1:23-cv-00140-LWW                    Document 24             Filed 08/17/23            Page 38 of 59
                                                 PUBLIC VERSION


States through evasion. 7 The entries subject to the investigation were those entered for
consumption, or withdrawn from a warehouse for consumption, from March 9, 2021, one year
before CBP's acknowledgment of receipt of the allegation, through the pendency of the
investigation. 8 During the pertinent period of investigation, Scioto entered 18 type "01 " 9
consumption entries ofWCV, under subheading 9403.40.9060 HTSUS, with a declared country of
origin of Malaysia, into the United States. 10

        On January 31, 2023, TRLED concluded that, based on the record, there was substantial
evidence to demonstrate that Scioto entered WCV covered by AD Order A-570-106 and CVD
Order C-570-107, and falsely declared the WCV as being of Malaysian origin on type "01"
consumption entries not subject to an AD or CVD order. 11 As a result, no AD / CVD cash deposits
or duties were paid with respect to the merchandise. 12 TRLED also applied adverse inferences
against Alno, the alleged manufacturer of the WCV at issue here, and by extension, Scioto, for
Alno's alleged failure to cooperate by not acting to the best of its ability to comply with TRLED's
Requests for Information ("RFis") during an on-site verification at Alno's facilities in Malaysia.

        On March 15, 2023, Scioto filed a timely request for administrative review, and
subsequently, on March 15, 2023, and March 17, 2023, Scioto filed revised requests for
administrative review. On March 20, 2023, RR sent an email to all parties to the investigation,
notifying them of the commencement of the administrative review and the assignment of RR case
number H330744. On March 30, 2023, AKCA timely filed a response to Scioto's request for
administrative review.

    II.       Law & Analysis

        Section 517 of the Tariff Act of 1930 ("the Tariff Act"), as amended (19 U.S.C. § 1517),
provides, "with respect to covered merchandise, the Commissioner shall make a determination,
based on substantial evidence, with respect to whether such covered merchandise was entered into
the customs territory of the United States through evasion." 13 The term evasion is defined as :

          {e} xcept as provided in subparagraph (B), the term "evasion" refers to entering
          covered merchandise into the customs territory of the United States by means of any
          document or electronically transmitted data or information, written or oral statement,
          or act that is material and false, or any omission that is material, and that results in any

7
  See Notice oflnitiation (Public Version), available at:: https://www.cbp.gov/trade/trade-
enforcement / tftea / eapa /recent-eapa-actions / eapa-action-notice-investiga ti on-and-in terim-measures-eapa-case-77 0 5-
wooden-cabinets-and (Last accessed June 7, 2023).
8 See 19 CFR § 165.2.

9 Type "01" entries are consumption entries which are not subject to payment of AD / CVD. See CBP Entry Summary

Form 7501 and Instructions and the ACE Entry Summary Business Rules and Procedure Document
https: / /www.cbp.gov/ trade/ programs-administration/ entry-summary/ cbp-form-7501 (last visited June 7, 2023).
10
   See National Targeting Center (''NTAC' ') 's Post Receipt Report (Business Confidential Version) (March 22, 2022) at
pages 1, 3.
11 Imports that are covered by AD / CVD orders are required to be entered on type "03" AD/CVD entries; merchandise

entered on type "01" consumption entries are not subject to payment of AD / CVD. See CBP Entry Summary Form
7501 and Instructions and the ACE Entry Summary Business Rules and Procedure Document
https://www.cbp.gov/trade/programs-administration/entry-summary /cbp-form-7501 (last visited June 7, 2023).
12 See January 31st Determination (Public Version).
13
   19 U.S.C. § 1517(c)(1)(A) .

                                                             4
       Case 1:23-cv-00140-LWW                     Document 24               Filed 08/17/23             Page 39 of 59
                                                    PUBLIC VERSION


           cash deposit or other security or any amount of applicable antidumping or
           countervailing duties being reduced or not being applied with respect to the
           merchandise. 14

Examples of evasion include, but are not limited to, misrepresentation of the merchandise's true
country of origin (e.g., through false country of origin markings on the product itself or false sales),
false or incorrect shipping and entry documentation, or misreporting of the merchandise's physical
characteristics. 15

        Additionally, covered merchandise is defined as "merchandise that is subject to a CVD order
issued under section 706, Tariff Act of 1930, as amended (19 U.S.C. § 1671e), and/or an AD order
issued under section 736, Tariff Act of 1930, as amended (19 U.S.C. § 1673e)." 16 While "substantial
evidence" is not defined by statute, the "substantial evidence" standard has been reviewed by the
courts in relation to determinations by other agencies . "Substantial evidence requires more than a
mere scintilla, but is satisfied by something less than the weight of the evidence." 17

         Therefore, CBP must determine whether a party has entered merchandise that is subject to
an AD or CVD order into the United States for consumption by means of any document or
electronically transmitted data or information, written or oral statement, or act, that is material and
false, or any omission that is material, that resulted in the reduction or avoidance of applicable AD
or CVD cash deposits or duties being collected on such merchandise. In doing so, CBP may apply
adverse inferences where they are warranted. RR's determination as to evasion must be supported
by substantial evidence.

                A. Scioto's Arguments

         Scioto requests that we reverse the January 31st Determination of evasion. Scioto argues
that it did not enter covered merchandise into the United States through evasion, because the WCV
entered on the entries under investigation were manufactured in Malaysia by Alno, and were not
manufactured in China. In support of this argument, Scioto states that TRLED's January 31st
Determination was not supported by substantial evidence, and TRLED's conclusions are arbitrary
and capricious. 18

         Scioto makes several arguments in support of reversal of the January 31st Determination. 19
First, Scioto contends that the administrative record demonstrates only that covered merchandise
exported by Alno to the United States was entered by CTG, 20 a separate importer not involved in
this EAPA investigation, and did not go to Scioto. 21 CTG, a company unrelated to Scioto and an


14 19 U.S.C. § 1517(a)(5); see aLfo 19 CFR § 165.1.
15 See Investigationof Claims ofE vasion ofAntidumping and Countervailing Duties, Interim Regulations, 81 Fed. Reg. 56,477, 56,478
(Aug. 22, 2016).
16 19 CFR § 165.1.
17 See Altx, Inc. v. United States, 370 F.3d 1108, 1116 (Fed. Cir. 2004) (internal citations and quotation marks omitted).
18 See Scioto's March 15, 2023 Request for Administrative Review, at 6 (Public Version); see aLfo 19 CFR § 165.27 (a) .
19 See Scioto's March 15, 2023 Request for Administrative Review, at 6-24 (Public Version).
20 .See id. at 4. We note that, although "CTG" was bracketed in Scioto's request for administrative review, the details of

the federal court complaint to which Scioto refers, filed by CTG, have been released to the public in the public version
of AKCA's response.
21 Id. at 4.



                                                                5
      Case 1:23-cv-00140-LWW                  Document 24             Filed 08/17/23           Page 40 of 59
                                                PUBLIC VERSION


importer of WCV, filed a complaint against Qingdao Haiyan Group, Qingdao Drouot, Alno, and
Scioto, in the United States District Court for the Middle District of Tennessee Nashville Division,
upon which Scioto relies. Scioto takes issue with CBP's failure to examine CTG and commence an
EAPA investigation against CTG. 22 Accordingly, Scioto maintains that, as to its importations, the
alleged transshipment ofWCV from China did not occur and that no cash deposits were owed. 23

        Second, Scioto argues that the production tracking inspection reports, containing batch
numbers from Alno's factory in Malaysia, demonstrate that the WCV Scioto entered was
manufactured in Malaysia, not China. 24 Scioto then points out that these batch numbers on the
production tracking inspection reports match the batch numbers on Alno's production schedules,
which, in turn, link the production batch numbers to particular purchase orders, shipments, and
entries made by Scioto. 25

       Third, Scioto remarks that TRLED noted in the January 31st Determination that "the
evidence demonstrates that Alno can produce wooden cabinets and vanities {in Malaysia} ." 26

         Fourth, Scioto argues that the January 31st Determination is based on a misunderstanding of
the Finished Product Inbound Delivery ("FPID") sheets. 27 More specifically, Scioto observes that
CBP misinterpreted that FPID sheets were only used when finished goods are purchased by Alno
and that the presence of an FPID sheet for a shipment to Scioto demonstrates that Alno purchased
Chinese WCV and exported them to Scioto. 28 In contrast to CBP's interpretation of the FPID
sheets, Scioto asserts that Alno uses the term "inbound" for different types of documents, and
FPIDs are created whenever a finished good enters the finished goods warehouse, regardless of
whether the goods were purchased or produced by Alno. 29 Correspondingly, Scioto states that after
Alno finishes production of an item in Malaysia and enters it into the finished goods warehouse, an
FPID is created. 30 Scioto points out that the difference between FPIDs created for goods produced
in Malaysia and FPIDs for purchased goods is that the FPIDs for goods produced in Malaysia will
list the production batch number, whereas the other FPIDs contain no such production batch
number. 31 In turn, the batch numbers from the FPID sheets match those included on the
production schedules, which also bear Scioto's purchase order numbers linking production in
Malaysia to specific shipments and entries made by Scioto. 32 Scioto illustrates this by comparing an
FPID sheet containing a production batch number corresponding to one of its shipments to an
FPID sheet pertaining to transshipped goods to [Co.] from China, which contained no such
production batch numbers. 33 Additionally, Scioto asserts that the FPID sheets for the transshipped
goods to [ Co. ] do not contain any of the SKU s used by Scioto. 34


22 Id.
23 Id. at 8.
24 Id. at 10.

25 Id.
26 Id. (quoting January 31st Determination (Public Version) at 4)(emphasis in original).
27
   See Scioto's March 15, 2023 Request for Administrative Review (Public Version), at 10-11.
28 Id. at 11.

29 Id.

30 Id.
31 Id.
32 Id. at 11-12.
33 Id. at 12 (Business Confidential Version) .

34 Id.



                                                           6
         Case 1:23-cv-00140-LWW           Document 24       Filed 08/17/23        Page 41 of 59
                                          PUBLIC VERSION


        Fifth, Scioto contends that the concerns with documentation which TRLED recounted in
the January 31st Determination are immaterial to the issue of whether Alno produced the WCV
imported by Scioto. 35 Specifically, Scioto asserts that CBP's finding of vague recordkeeping refers to
Alno's raw material purchase records, rather than the production records reviewed by CBP. 36
Moreover, Scioto disagrees with CBP's finding that certain documents maintained by Alno regarding
raw material purchases are unreliable. 37 Scioto notes that CBP found these documents unreliable
because: 1) unit transfer prices did not reflect market prices when goods were purchased from
related parties; 2) invoices for purchases of raw materials and other goods contained vague
descriptions; 3) the invoices for purchases of raw materials and other goods contained varied and
inconsistent units of quantity; and, 4) no invoices or purchase documents existed with respect to
purchases of glass .38 Nevertheless, Scioto maintains that these documents are not material in CBP's
determination of whether the goods Scioto imported were produced in Malaysia. 39 Rather, the only
documents CBP needs to determine whether the products were produced in Malaysia are the
aforementioned production documents. 40 Moreover, Scioto argues that the similarities in the
packaging of goods as referenced in AKCA's allegation and packaging of goods for CTG in Alno's
warehouse and discrepancies between paperwork provided by Alno and information provided in the
Allegation by AKCA are not material to this investigation. 41 Likewise, Scioto contends that the
disclosure of the "additional warehouse" is immaterial, because CBP provides no evidence that the
disclosure of this warehouse at verification impeded CBP's investigation, nor does CBP cite to any
evidence that any of the goods in the warehouse were produced in China. 42 Lastly, Scioto asserts
that the statute and CBP's regulations do not require a company to keep its internal records in any
particular form. 43

        Sixth, Scioto claims that the application of adverse inferences was not justified, because Alno
cooperated to the best of its ability in responding to CB P's numerous questions and document
requests in a very limited amount of time and with only a small administrative staff, and there were
no material gaps in the record. 44 More specifically, Scioto notes that: 1) Alno disclosed the existence
of the additional warehouse when CBP asked it specific questions and brought CBP officials to the
warehouse without delay; the additional warehouse was not initially divulged, because Alno
misunderstood the nature of CBP's questions, and the warehouse was only recently rented to store
finished goods that Alno's customers would not accept due to the civil litigation and EAPA case; 2)
CBP failed to clarify how asking Alno's officials multiple times when documents were missing led to
a gap in the record or how these documents are material to the investigation and regardless, Alno
acted to the best of its ability to respond to the numerous document requests with a small
administrative staff; 3) CBP failed to elucidate how Alno's attempt at providing to CBP officials
unrelated, irrelevant, or unsolicited documents led to gaps in the record, or how this supports CBP's
finding that Alno did not cooperate to the best of its ability. Additionally, CBP fails to disclose the
specific documents it is referring to, and CBP should take into account language differences which

35 Id. at 13.

36 Id.
37 Id.
38 Id. at 13-14.
39 Id. at 14.

40 Id.
41 Id. (Business Confidential Version).

42 Id. at 14-15.

43 Id. at 15.
44
   Id. at 16.

                                                   7
         Case 1:23-cv-00140-LWW                   Document 24               Filed 08/17/23    Page 42 of 59
                                                    PUBLIC VERSION


impeded Alno's ability to understand the questions. Again, at worst, any errors are just a
consequence of Alno's responding to numerous document requests with only a small administrative
staff; and, 4) regarding the missing emails, Alno explained at verification that some emails were lost
due to server issues, and Alno did not withhold any information. 45

        Seventh, Scioto argues that CBP's failure to provide parties with access to "confidential"
record information violated Scioto's due process rights under the Fifth Amendment to the
Constitution of the United States, because it curbed Scioto's opportunity to be heard. 46 For
instance, Scioto was not provided with photos taken by CBP officials. 47 Moreover, most of the
"confidential" information at issue was submitted by Alno and Scioto themselves, so Scioto should
have access to it. 48 Scioto states that the EAPA statute and regulations provide no mechanism for
parties or their counsel to view confidential information that is being used against them. This
creates a procedural due process violation. 49

                 B. AKCA's Arguments

        AKCA requests that we affirm the January 31st Determination. AKCA argues that CBP's
finding of evasion was based on substantial evidence. 50 AKCA sets forth various arguments as to
why the January 31st Determination of evasion should be affirmed. 51

         First, AKCA contends that Scioto's argument that an EAPA investigation should be brought
against CTG is irrelevant with regards to the issue of whether an affirmative evasion determination
should be reached against Scioto. 52 Even if this were relevant though, AKCA did not file an EAPA
allegation against CTG because CTG returned the transshipped Chinese goods to Malaysia when it
discovered that the goods were from China, and CTG provided information regarding the evasion
scheme to AKCA, so that AKCA could collaborate with CBP to confront the evasion plot. 53

        Second, AKCA asserts that there is substantial evidence of evasion on the record, even if
Alno had the capacity to produce WCV in Malaysia. 54 Specifically, AKCA views the FPID sheets as
substantial evidence of evasion, because the FPID sheets purportedly show that Alno received
finished WCV that it purchased and which were manufactured in China. 55 AKCA maintains that
CBP's determination was not based on a misunderstanding of the FPID sheets, as TRLED
concluded that "the FPID sheet is only generated in one specific instance, i.e., when goods enter the
raw materials warehouse." 56 Moreover, ACKA emphasizes that TRLED officials asked both the
General Manager and Chief Accountant when the FPID sheet is generated, and they stated that the
FPID sheet is generated when purchased materials are entered into the raw materials warehouse,


45 Id. at 17-19.
46 Id. at 20-24.
47 Id. at 22.
48 Id. at 23.
49 Id. at 21.

50 See Alleger's Response to Request for Administrative Review, dated March 30, 2023 (Public Version) at 4.
51 Id. at 4-22.
52 Id. at 5.
53 Id. at 5-6.
54 Id. at 6; see.January 31st Determination (Public Version) generally.
55 Alleger's Response to Request for Administrative Review (Public Version), dated March 30, 2023, at 6-8.
56   Id. at 8 (quoting.January 31st Determination (Public Version) at 7).

                                                               8
           Case 1:23-cv-00140-LWW                  Document 24              Filed 08/17/23    Page 43 of 59
                                                     PUBLIC VERSION


which confirmed what Alno said in its third supplemental response. 57 Additionally, Alno's Chief
Accountant confirmed that Alno does not track inventory movement during the production process.
Alno also did not provide the FPID sheets for any of the sales traces that the TRLED verification
team conducted on-site during the verification, even though Alno had provided them in RFI
responses. 58 The only other instance during which TRLED officials viewed these inbound sheets
was for raw materials that Alno had purchased and when Alno transshipped finished WCV from
China to another company, presumably referencing [ Co. ], which gave rise to FPID sheets identical
to the instant ones. 59

        Third, AKCA points out that the information submitted by Alno was unverifiable and
unreliable. 60 AKCA views Scioto's claims - that the discrepancies and missing documents for
purchases of raw materials are immaterial to this investigation - as meritless. 61 Further, AKCA takes
issue with Scioto's claim that the production documents themselves are the only documents
necessary to determine that the WCV were produced in Malaysia, because production documents
can easily be forged or altered. 62 Moreover, the discrepancies in the purchase documents and the
missing purchase documents are probative of evasion. 63 The aforementioned discrepancies included
inconsistent quantity types and vague invoice and packing list descriptions that concealed the
volume and types of goods purchased, specifically finished WCV, from the Chinese supplier. 64

         Fourth, AKCA asserts that TRLED properly applied adverse inferences, because Alno did
not cooperate to the best of its ability with CB P's requests for information, as follows. 65 Specifically,
among other things, AKCA notes that TRLED discovered the existence of an additional warehouse,
not previously disclosed, after an Alno employee inaccurately stated that no other location existed.
TRLED had to ask company officials multiple times to provide documents and each time
discovered that documents were missing. Alno attempted to provide TRLED officials unrelated or
irrelevant documents that were unsolicited to cover for Alno's error of not providing certain
documents after being asked multiple times. TRLED was unsure the missing emails provided to
TRLED at verification were original emails since TRLED was not provided with access to the
original files despite asking for access .66 Finally, AKCA insists that the EAPA statute is different
from the AD / CVD statutes with regards to adverse facts available, because under the EAPA statute,
CBP does not have to find a "gap in the record" before it applies adverse inferences, as Commerce
must in AD/CVD proceedings. 67 CBP only has to find that an interested party has failed to
cooperate to the best of its ability before CBP is authorized to apply adverse inferences. 68

        Fifth, AKCA proclaims that CBP may collect duties based on its application of adverse
inferences based upon the statutory language of EAPA, as CBP can find that the WCV is covered
merchandise, Scioto evaded the AD / CVD Orders, and Alno failed to cooperate to the best of its

57 Alleger's Response to Request for Administrative Review (Public Version), dated March 30, 2023, at 8.

58   Id.
59   Id. at 8-9; see also January 31st Determination (Business Confidential Version) at 7.
60 Alleger's Response to Request for Administrative Review (Public Version), dated March 30, 2023, at 9.

61   Id.
62 Id.
63   Id. at 10.
64 Id. at 11.
65 Id. at 12.
66 Id. at 14.
67 Id. at 16.

68 Id.



                                                                 9
         Case 1:23-cv-00140-LWW                     Document 24              Filed 08/17/23            Page 44 of 59
                                                     PUBLIC VERSION


ability with regards to CBP's requests for information. 69 This is consistent with the intent behind
granting the power to apply adverse inferences to TRLED, which is "to provide respondents with
an incentive to cooperate." 70

        Finally, AKCA expostulates with Scioto's argument that its due process rights were violated
under the U.S. Constitution, since the U.S. Court oflnternational Trade ("CIT") has rejected similar
claims. The CIT has found that when CBP provides public summaries of sufficient detail to permit
a reasonable understanding of the substance of the information, the parties have been provided with
an adequate opportunity to respond to adverse evidence. 71 AKCA then notes that all confidential
information on the record was properly summarized in sufficient detail to permit a reasonable
understanding of the substance of the information. Therefore, Scioto's due process rights were not
infringed. 72

       III.        Administrative Review Analysis

       As an initial matter, pursuant to 19 U.S.C. § 1517(£)(1) and 19 CFR § 165.45, upon request
for administrative review, RR will apply a de novo standard of review, based solely upon the facts and
circumstances on the administrative record in the proceeding. In making our determination, we
reviewed: (1) the administrative record upon which the January 31st Determination was made, as
provided to RR by TRLED; and, (2) the timely and properly filed request for review and response.

         The purpose of this de novo review is to analyze the January 31st Determination and the
accompanying administrative record to determine whether substantial evidence of evasion exists.
Our review of the administrative record clearly indicates that Scioto's WCV were entered on type
"01" consumption entries and, therefore, AD/CVD deposits and duties were not paid. The only
fact in contention is whether the WCV at issue are, in fact, of Chinese origin, and thus, considered
covered merchandise under the applicable AD/CVD Orders. If so, no one disputes that when
entered on type "01" entries, they would have been entered into the customs territory of the United
States by means of a document or electronically transmitted data or information, written or oral
statement, or act, that is material and false, or an omission that is material; and that such entry
resulted in the reduction or avoidance of applicable AD or CVD cash deposits or duties being
collected on such merchandise.

        The record contains extensive documentation regarding the presence of raw materials at
Alno's warehouse in Malaysia and Alno's ability to produce, and production of, WCV from those
raw materials using machinery and its workforce, which we find credible. Moreover, the record
contains substantial evidence linking Alno's production records to Scioto's entries into the United
States. In contrast, the record contains no evidence that WCV produced in China were
transshipped through Malaysia and imported into the United States by Scioto. Accordingly, in our
view, there is not substantial evidence in the record that covered merchandise was entered into the
customs territory of the United States through evasion, as we explain in detail below.




69 Id. at 19-20.
70   Id. at 20 (quoting F ili De Cereo Di Filippo Fara S. Martino Sp.A. v. United States, 216 F.3d 1027, 1032 (Fed. Cir. 2000).
71 Id. at 20-21.
72   Id. at 21.

                                                                 10
      Case 1:23-cv-00140-LWW                   Document 24            Filed 08/17/23       Page 45 of 59
                                                PUBLIC VERSION


             A. Our de novo administrative review is limited to a determination as to
                  Scioto, not CTG.

         No EAPA investigation was conducted as to CTG, and no determination was made as to
CTG's imports. As such, our determination herein necessarily relates to Scioto's imports and not
those of CTG. However, given that Scioto's request for administrative review contains arguments
related to CTG, we briefly address the issue of CTG. The issue of whether CTG engaged in evasion
is not properly before us . Nor are facts related to CTG's conduct and transactions relevant to our
decision as to whether Scioto engaged in evasion, given that the record is devoid of any evidence of
a relationship between Scioto and CTG.

         We do note one fact, contained in the record, which is relevant to our decision. As
acknowledged in the January 31st Determination, "Alno itself has admitted in court documents that
it transshipped Chinese-origin cabinets and vanities through Malaysia to [Co.] during the for {sic}
this EAPA investigation." 73 Indeed, Alno admitted in response to CB P's RFI that it transshipped
WCV to [Co.], but it did not so admit with regards to Scioto's importations.74

              B . The use of adverse inferences against Alno and Scioto is not supported by
                  substantial evidence.

       TRLED's application of adverse inferences encompasses both the alleged non-responsive
manufacturer, Alno, and the importer, Scioto. Based on such inferences, TRLED's finding of
transshipment extended to all entries of WCV sourced from Alno, which Scioto imported during the
period of investigation. 19 CFR § 165.6(a), provides, in part, as follows:

         {i} f the party to the investigation that filed an allegation, the importer, or the foreign
         producer or exporter of the covered merchandise fails to cooperate and comply to the
         best of its ability with a request for information made by CBP, CBP may apply an
         inference adverse to the interests of that party in selecting from among the facts
         otherwise available to make the determination as to evasion pursuant to 165.27 and
         subpart D of this part.

However, while Alno and Scioto may not have acted perfectly in responding to information requests
by CBP, in our view, when the record is examined as a whole, it supports a conclusion that they
cooperated and complied with requests for information made by CBP such that application of a
wholesale adverse inference to Scioto is not justified. This is especially so given there is record
evidence that the information requested was ultimately provided to CBP.

        First, the January 31st Determination applied adverse inferences against Alno, because,
among other reasons, Alno did not initially disclose an additional warehouse 75 when asked if it
owned any other locations. Scioto claims that Alno did not initially disclose the existence of this
warehouse, because it misunderstood the nature of CB P's questions, and the warehouse was only
recently rented to store finished goods that Alno's customers would not accept due to the civil



73 January 31st Determination (Business Confidential Version) at 4.
74 Alno's September 8, 2022 Supplemental CF 28 Response (Business Confidential Version) at 1.
75 January 31st Determination (Public Version) at 11.



                                                           11
      Case 1:23-cv-00140-LWW                  Document 24             Filed 08/17/23          Page 46 of 59
                                               PUBLIC VERSION


litigation and EAPA case. 76 It is clear from the record that when Alno realized that CBP also
wanted information on this warehouse, Alno disclosed the existence of the warehouse to CBP and
further provided CBP with access to the warehouse.77 According to the verification report, "Alno
claimed they misunderstood the question and thought we {CBP officials conducting verification}
meant raw materials." 78 In this regard, we note that Alno had both a "raw materials warehouse" and
an "additional ... (Finished Goods Warehouse)." 79 We also note that, after being asked about other
locations, Alno's employee "confirmed that Alno did not own any other land in the area{,}"
according to the verification report. 80 This statement of Alno's employee to CBP officials appears
to be both technically correct and accurate, as CBP officials noted that they "identified payments for
a [ description ] which was actually the additional finished goods warehouse. 81 Alno truly did not
own any other land or factories in the area, as corroborated by the payments for a [ description]
which CBP officials identified; Alno was merely renting another facility, and Alno did not own the
facility or the land upon which it stood. 82 On balance, in our view, the facts discussed above do not
support a conclusion that Alno did not cooperate by not acting to the best of its ability to comply
with a request for information, especially given that Alno did in fact disclose the additional finished
goods warehouse and subsequently brought CBP officials to the warehouse location. 83

        Secondly, the January 31st Determination employed adverse inferences against Alno
because, initially, Alno failed to provide missing packing checklists, when requested to do so by
CBP. 84 Later during the on-site visit, company officials and Alno's counsel attempted to provide the
missing Packing Check-Lists, unsolicited, at a time when CBP officials were focused on obtaining
other documents (commercial invoices and bills of lading). 85 The statutory provision on when the
application of adverse inferences is appropriate does not require perfection, but rather, it requires
acting to the best of one's ability to comply with a request for information. 86 Alno did not act
perfectly, in that there were delays- of indeterminate length pursuant to the record before us- in
providing certain Packing Check-Lists, but when Alno found the relevant documents, later during
the course of the verification, it produced them to CBP "unsolicited." 87 Thus, Alno acted to the
best of its ability. 88

        Thirdly, the January 31st Determination employed adverse inferences against Alno because
CBP was unsure whether the missing emails provided to CBP at verification were original emails,
since CBP was not provided with access to the original files, despite asking for access .89 The
verification report notes that the Alno employee stated that this was due to "server issues." 90 There

76 Scioto's March 15, 2023 Request for Administrative Review (Public Version) at 14-15.
77
   Id. at 17; Regulatory Audit and Agency Advisory Services' ("RAAAS' ') verification report, dated December 21, 2022,
(Public Version) at 9.
78 RAAAS verification report, dated December 21, 2022, (Public Version) at 9.
79 Id. at 3, 9.
80 Id.at9.

81 Id. (Business Confidential Version).

82 Id.
83
   See 19 U.S.C. § 1517(c)(3)(A) .
84
   January 31st Determination at 11 (Public Version).
85 RAAAS verification report, dated December 21, 2022, (Public Version) at 16.
86 See Nippon Steel Co,p. v. United States, 337 F.3d 1373,1382 (Fed. Cir. 2003).

87 See id.; RAAAS verification report, dated December 21, 2022, (Public Version) at 16.
88 See 19 U.S.C. § 1517(c)(3)(A) .
89
   January 31st Determination at 11 (Public Version).
90 RAAAS verification report, dated December 21, 2022, at 11 (Public Version).



                                                          12
        Case 1:23-cv-00140-LWW                 Document 24             Filed 08/17/23            Page 47 of 59
                                                 PUBLIC VERSION


is insufficient evidence in the verification report or otherwise regarding the veracity of the claims
made concerning the server issues. It appears the issue surrounding the server and corresponding
emails was unresolved. 91 Consequently, it is difficult to draw any conclusion on this point. 92 Lastly,
according to the verification report, it is noteworthy that:

             Alno did contact someone from the parent company who was included on the email,
             and they forwarded the email to Alno. While we {CBP Officials} did not find any
             concerns with the attachments provided, we cannot be sure the attachments provided
             in the forwarded email were the ones in the original email since we did not have access
             to the original email. 93

There is no proof on the record that the person from the parent company forwarded an email to
CBP officials containing different attachments from those accompanying the original email. 94
Regardless, the forwarded email and its attachments were not included in the attachments to the
verification report, so we are unable to examine them, and we were unable to locate the email and its
attachments within the 18 verification exhibits Alno submitted. 95 Thus, on balance, we believe that
the evidence with respect to the emails is mixed. In our view, the evidence is sufficient to call into
question the reliability of the attachments and emails so as to not rely upon them for purposes of a
determination; however, this example, when considered with all of the other evidence, is insufficient
to draw a wholesale adverse inference against Scioto for all of its imports during the period in
question.

       We thus conclude that the use of adverse inferences against Alno and Scioto is not
supported by substantial evidence.

                 C. There is record evidence that Alno has the capability to, and likely did,
                    produce the WCV in Malaysia.

                    1.        Alno's production records are direct evidence of production of WCV in
                              Malaysia of WCV imported by Scioto.

        The record evidence demonstrates not only that Alno could produce WCV in Malaysia, but
that Alno did produce the WCV at issue in Malaysia. Production documentation, including FPID
sheets, production tracking inspection reports, and production schedules, submitted by Alno, link
specific production batch records from Alno's factory in Malaysia to specific purchase orders,
commercial invoices, and entry numbers for WCV which Scioto imported, and which are the subject
of this EAPA investigation. The January 31st Determination dismisses the FPID sheets based on
the view that they are only for occasions when Alno purchased finished goods from China; however,
based on our review of the evidence, as discussed herein, such a conclusion is not justified. The
record demonstrates that the FPID are used for purchased and manufactured finished goods
inventory.


91 See id.
92 See 19 U.S.C. § 1517(c)(3)(A) .
93 RAAAS verification report, dated December 21, 2022, at 11 (Public Version).
94 See id.
95 See id. at Attachments 1-11, pp. 19-56 (Business Confidential Version); Alno's Verification Exhibits 1-18, dated

November 3, 2022 (Business Confidential Versions).

                                                            13
          Case 1:23-cv-00140-LWW                  Document 24              Filed 08/17/23          Page 48 of 59
                                                   PUBLIC VERSION


         No mention is made in the January 31st Determination of the production tracking
inspection reports, and production schedules, submitted by Alno. 96 The record evidence supports a
conclusion that Alno did produce the WCV in Malaysia. More specifically, the batch number listed
on Alno's FPID sheet, reproduced in the January 31st Determination, [ batch no. ] matches the
batch number listed on Alno's production tracking inspection sheets, [ batch no.], and the batch
number, [batch no. ] listed in the production batch lot checklist for Alno's factory in Malaysia. 97
The production batch checklists link the production batch number [batch no. ] to a Scioto
purchase order number [ example ], a SKU [ example ], and a line item on an entry number
(e.g., [XXXXXXXX] 7716, entry line 6). 98 The production batch number from the production batch
checklists [batch no.] also matches the batch number on the production schedule [ batch no. ] 99
The production schedule links a batch number, [batch no.], to Scioto's purchase order numbers
[P.O. no.]. 100 We note that Alno's August 25, 2022 CF 28 Response Part VII also listed different
batch numbers that are unrelated to the FPID sheet reproduced in the January 31st Determination,
such as batch nos. [ batch nos.                            ] supporting a conclusion that Alno also
produced other batches of WCV in Malaysia and that these WCV were not produced in China. 101
Alno's August 25, 2022 CF 28 Response Part VIII Part 2 also contains some production tracking
inspection sheets with the matching batch number [batch no. ] 102 The matching batch number in
the FPID and production documents (which are linked to specific entries made by Scioto)
strengthens the claim that Alno produced the WCV at its factory in Malaysia, which were then
imported by Scioto, and that the WCV were not manufactured by Qingdao Haiyan in China. 103

          Notwithstanding the fact that some of the production tracking inspection sheets that were
placed on the record contain foreign language text without English translations, 104 these documents
nonetheless contain alphanumerical batch numbers with English letters [batch no.            ], which
can be read by our office, and which link to purchase orders, commercial invoices, and
entries / importations of WCV by Scioto. 105

         Dismissing this record evidence, AKCA contends that "{p} roduction documents can easily
be forged or altered." 106 Such a statement, without any support, is not a proper basis for dismissing
the evidence contained in the record. AKCA fails to detail which production documents, in
particular, are allegedly forged or altered, or how CBP or AKCA can discern which production
documents are forged or altered. 107 No citation to the administrative record was provided by AKCA
for its contentions regarding forgery or alteration of specific production documents. 108 Regardless,


96
     See January 31st Determination at 7 and generally (Public Version).
97 January 31st Determination of evasion at 23 (Business Confidential Version); Alno's August 25, 2022 CF 28 Response

Part IV at pages 540-749, Part VII at 574,577 (Business Confidential Version) .
98 Alno's August 25, 2022 CF 28 Response Part VII at p. 574 (Business Confidential Version).
99 Alno's August 25, 2022 CF 28 Response, Part IV at p. 141 (Business Confidential Version).

100 Id.
101 Alno's August 25, 2022 CF 28 Response Part VII at p. 21     (Business Confidential Version).
102 Alno's August 25, 2022 CF 28 Response Part VIII Part 2, pages 406-610 (Business Confidential Version).
103 See Scioto's March 15, 2023 Request for Administrative review at 10 (Business Confidential Version).
104 Alno's August 25, 2022 CF 28 Response Part IV at pages 540-749 (Business Confidential Version); see 19 CFR

165.S(b)(l ).
105 Alno's August 25, 2022 CF 28 Response Part IV pages 141, 540-749, Part VII at 574,577 (Business Confidential

Versions).
106 Alleger's Response to Request for Administrative Review, dated March 30, 2023, at 9 (Public Version).

107 Id.
108 Id.


                                                              14
      Case 1:23-cv-00140-LWW                 Document 24            Filed 08/17/23          Page 49 of 59
                                              PUBLIC VERSION


the production tracking inspection reports for batch number [batch no.], allegedly comprising
transshipped merchandise per the January 31st Determination, appear to be authentic, at least
chronologically speaking, as the production dates on the reports, ranging from July 30, 2021 through
August 6, 2021, occur before the entry date on the corresponding entry, entry no. [XXXXXX]7716,
with an entry date of [date           ]. 109 Alno provided evidence tracking inventory movements,
through batch numbers, and there has been no demonstration on the record that these documents
were falsified, forged, or altered. 110

        Again, we observe that Scioto and Alno linked certain production batches in production
documentation from Alno's factory and warehouse to specific entries of WCV imported by Scioto,
which provides evidence that the WCV were produced in Malaysia. 111 For example, Scioto provided
a copy of a warehouse inbound order which contained an FPID sheet containing production batch
number [batch no. ] matching the batch number on the production tracking inspection sheet
[batch no.] and in turn, the purchase order numbers on the FPID sheets [P.O. nos.      ] match
those of the commercial invoices for entry [XXXXXX]142-0 [P.O. nos.]. 112 In sum, Scioto and
Alno provided documentation that tracks production of WCV in Malaysia to the sale to and
importation ofWCV by Scioto in the United States. 11 3 While we find that production records
provide strong evidence concerning production in Malaysia, these documents are not the only
relevant documents, as contended by Scioto. Rather, raw material documentation is also relevant to
the issue, as recognized infra.

        We also note that the January 31st Determination contains certain statements as to the FPID
sheets that are at odds with the verification report. The January 31st Determination, concludes that
"Alno's own company officials stated it {the FPID sheet} is for when purchased goods are checked
in, confirming what Alno said in its third supplemental response on three occasions." 114 By
"purchased goods" it appears that the January 31st Determination meant "finished cabinets and
vanities ... having been purchased by Alno from [ Co.            ]." 115 However, according to the
verification report, Alno's company official never said that these were purchased goods from
[Co.       ] coming in --- they are merely described as "goods {:}"

        {d}uring the verification, we showed the Chief Accountant and GM a sample of a
        Finished Product Inbound Delivery sheet that was submitted as part of its RFI
        responses and asked when that sheet is generated. They both responded that it is
        generated when goods are entered into the materials warehouse. We confirmed by
        asking again, "The Inbound Delivery Sheet would not be generated without goods
        coming in?" The GM replied, "Yes, it is only generated when goods are checked in." 11 6

109 SeeJanuary 31st Determination at 23 (Business Confidential Version); Alno's August 25, 2022 CF 28 Response Part

N" pages 540-749, Part VII" at 574,577 (Business Confidential Versions); RAAAS verification report, dated December
21, 2022, Attachment 3, page 1 (Business Confidential Version) .
110 See id.
11 1 Alno's August 25, 2022 CF 28 Response Part Nat 141, 540-749, Part VII at 574,577 (Business Confidential

Versions).
11 2 Scioto's June 1, 2022 CF 28 Response Attachments 3, pages 54-56, 8-4, page 243, and 8-5, pages 245-49 (Business

Confidential Version).
11 3 See id.
114 January 31st Determination at 7 (Public Version).
115 Id. at 8 (Business Confidential Version).
11 6 RAAAS verification report, dated December 21, 2022, at 14 (Business Confidential Version); see also Alleger's

Response to Request for Administrative Review, dated March 30, 2023, at 8 (Public Version).

                                                         15
        Case 1:23-cv-00140-LWW                    Document 24                Filed 08/17/23   Page 50 of 59
                                                   PUBLIC VERSION



       Likewise, the January 31st Determination is inconsistent with Alno' s Third Supplemental
Response, as Alno never said that these were "purchased goods," i.e., finished WCV purchased by
Alno from [Co.        ]. Instead, Alno said that the FPID sheets were also for " {raw} materials
purchased" as evidenced by CBP's RFI question and Alno's response:

              {CBP request for information} 3. Inbound delivery sheets for hardware accessors
              (Exhibit VII page 80), runner and hinges (Exhibit VII page 82-87), paint (Exhibit VII
              page 113) and plywood (Exhibit VII page 125-130). These raw materials were
              purchased from various vendors and tracked on an inbound delivery sheet. We
              identified finished product inbound delivery sheets in Exhibit VII page 56 and 7 5 lists,
              which SKU numbers received for each sheet dated separately. The listed SKU
              numbers are also listed on commercial invoices for Scioto and the product catalog.
              Generally, inbound delivery is for material entering a facility for stock purposes.

              a. Please explain why these products would be tracked as inbound delivery and not
              outbound forms. Where did this shipment inbound from?

              Response: The package documents we submitted include materials inbound sheets
              which are for materials entering the factory and outbound sheets which are for
              materials withdrawn from Alno's warehouse as production inputs. Alno keeps the
              products tracked by outbound sheets (warehouse-out sheets) for production inputs
              and inbound sheets (warehouse-in sheets) for materials purchased. Please see Exhibit
              S-Part VII-Q3 for a sample outbound sheet. 11 7

        The January 31st Determination seems to conclude that Alno admitted it purchased
transshipped finished goods (WCV) from China and sent them to Scioto; however, neither the
verification report nor Alno's RFI response supports such a conclusion. Rather, the information
extracted above appears to support Scioto's argument in the request for administrative review, that
"FPID's are generated whenever a finished good enters the finished goods warehouse regardless of
whether the goods were purchased or were produced by Alno. Therefore, once Alno completes
production of an item in Malaysia and enters it into the finished goods warehouse, an FPID is also
generated." 11 8 Unlike the FPIDs for the goods destined to Scioto, the FPIDs for transshipped
goods destined to [Co.] on the record did not contain batch numbers, instead, they contained the
notation "N/ A." 11 9 The inclusion or absence of production batch numbers would differentiate
transshipped goods to [Co.] versus non-transshipped goods to Scioto, manufactured in production
batches in Malaysia. 120

        The January 31st Determination also points out that Alno' s Chief Accountant confirmed
that Alno does not track inventory movement du1ing the production process, which the
Determination relies upon to provide additional support that items listed on the FPID are goods
purchased by Alno from a Chinese manufacturer. However, this statement does not address
inventory tracking after completion of the production process (as opposed to during the production

117 Alno's October 17, 2022 3rd Supplemental CF 28 Response, at 16 (Public Version).
11 8 Scioto's March 15, 2023 Request for Administrative Review, at 18 (Public Version).
119 Verification Exhibit 10 at page 21   (Business Confidential Version) .
120 See id.



                                                               16
        Case 1:23-cv-00140-LWW                Document 24             Filed 08/17/23           Page 51 of 59
                                               PUBLIC VERSION


process). The FPID sheets contain production batch numbers for the manufactured products that
enter inventory. 121 In other words, Alno did track inventory movements for finished goods, through
batch numbers, and there has been no demonstration on the record that these documents were
falsified, forged, or altered. 122

       Moreover, Alno explained in its Third Supplemental response that the term "inbound"
means input of either a raw material from China or a finished product made in Malaysia:

              Response: There are two types of inbound orders for solid wood. An "inbound order"
              means that the input is inbound into the production process. It does not refer to
              whether the input coming from abroad or whether it is produced in Malaysia. One
              type of inbound order is for the purchase of solid wood from China. This solid wood
              from China is not cut-to-size planed solid wood, but instead is "Long-piece Planed
              Wood" which is a kind of wood boards with various lengths and widths with a
              thickness of 21mm. Please see Exhibit S-Part VII-Q1-1 for an inbound order oflong-
              piece planed wood and a picture of the long-piece planed wood. A second type of
              inbound order is for a product made in Malaysia. That second product is produced in
              Malaysia by Alno. 123

        Finally, the record is devoid of any evidence of shipments in the form of finished WCV
from China into Malaysia, in terms of Malaysian import records, and then to the United States, to
Scioto, in terms of U.S. import records. 124 Thus, in addition to the evidence related to production of
WCV in Malaysia, there is an absence of evidence of any shipments of Chinese-origin WCV covered
by the Orders and transshipped to Scioto.

                     2.      CBP's on-site visit corroborated that Alno can produce WCV.

         As discussed above, Scioto and Alno provided substantial documentary evidence to support
a conclusion that the WCV Scioto imported into the United States was manufactured by Alno in
Malaysia. Moreover, CBP was also able to corroborate Alno's production capabilities during an on-
site verification at Alno in Malaysia.

        Importantly, the January 31st Determination states that the "evidence demonstrates that
Alno can produce wooden cabinets and vanities {in Malaysia} ." 125 When CBP officials conducted an
on-site verification at Alno's raw materials warehouse in Malaysia, CBP officials found raw materials
that can be used to manufacture the goods at issue here: " {t} he warehouse was filled with stacks of
mostly medium density fiberboard (MDF), plywood, wood boards, etc." 126 This corroborates that
Alno had the raw materials to manufacture the WCV in Malaysia. 127 CBP officials also took note of
where Alno purchased raw materials from, which further supports the claim that Alno used raw

121 January 31st Determination at 7, Attachment p. 23 (Business Confidential Version).
122 See id.
123 Alno's Third Supplemental CF 28 response dated October 17, 2022, at 15 (Public Version).
124 January 31st Determination generally (Business Confidential Version); NTAC Post Receipt Report (March 22, 2022)

generally (Business Confidential Version); see also, e.g., Commercial invoice for entry no. 791-357[XXXXXX] issued by
Alno listing a Malaysian address to Scioto with a U.S. address (Business Confidential Version).
125 January 31st Determination at 4 (emphasis in original) (Public Version).
126 RAAAS verification report, dated December 21, 2022, at 3 (Public Version).
127 See id.



                                                          17
            Case 1:23-cv-00140-LWW              Document 24             Filed 08/17/23   Page 52 of 59
                                                 PUBLIC VERSION


materials to make cabinets in Malaysia. The three most significant raw materials used to
manufacture WCV are solid wood boards, plywood, and paint; Alno purchased solid wood boards
from Haiyan Drouot China; plywood from seven various suppliers in Vietnam and Malaysia; and,
paint from two suppliers in Malaysia. The other materials used in the process of manufacturing
cabinets are MDF, and hardware, which Alno sourced from Malaysian and Chinese suppliers. 128
Moreover, photos in the verification report of Alno's facility in Malaysia depict raw materials made
of wood. 129

         Although the January 31st Determination recognizes that "Alno can produce wooden
cabinets and vanities," it states that, from October 2018 to October 2019, approximately when the
Orders were implemented, Qingdao Haiyan Drouot Household Co., Ltd. (Haiyan Drouot) exported
WCV from its manufacturing plant in Qingdao, China, to Scioto in Waverly, Ohio (disputed by
Scioto), since, among other reasons, "there is evidence on the record showing Alno's and Scioto's
ties to China." 130 More specifically, Scioto, which is 100 percent owned by the Qingdao Haiyan
Group Co., Ltd. (Haiyan Group), acquired Alno on July 1, 2019, and the deal was official on
September 4, 2019; 131 in July 2022, Scioto transferred all its shares of Alno to the Haiyan Group; 132
the owner of Haiyan Group is Liyan J iao, a Chinese national residing in Qingdao, China; 133 and
Alno's department heads are Chinese nationals. 134 Nevertheless, evidence of common ownership by
a Chinese national does not necessarily prove that the goods associated with these entries were
produced in China rather than Malaysia (especially given that Alno acknowledges that it sourced
solid wood boards from Haiyan Drouot in China). Moreover, the evidence shows that this Chinese
national's company also owns a factory in Malaysia, which CBP visited, and which is capable of
producing WCV. The January 31st decision explicitly acknowledges that Alno can produce WCV in
Malaysia. 135 Thus, in light of all of the evidence, the common origin and ties to China do not justify
a conclusion of transshipment.

                     3.      Alno's raw material records, machinery, and packaging operations are
                     direct evidence of production ofWCV in Malaysia.

      According to the verification report, CBP officials questioned Alno as to why Alno had so
much raw material if it had not been producing cabinets in months. 136 Alno's General Manager
("GM") responded that:

             they do not stock inventory based on orders, instead they keep enough stock on hand
             to produce [number ] shipping containers of cabinets. The GM could not provide a
             process time for a cabinet from start to finish, and instead stated they could fill [no. ]
             shipping containers in an 8-hour day. He also confirmed that it takes approximately




128 Id. at 4 (Business Confidential Version).
129 Id. at attachment 4, Photos 3-7, pages 2-4 (Business Confidential Version).
130 January 31st Determination at 4 (Public Version) (emphasis in original).

rn Id.
132 Id.
133   Id.
134 Id. at 5.
135   Id. at 4.
136   RAAAS verification report, dated December 21, 2022, at 4 (Public Version).

                                                            18
          Case 1:23-cv-00140-LWW                      Document 24            Filed 08/17/23            Page 53 of 59
                                                       PUBLIC VERSION


                [no. ] months lead time for raw materials by sea shipment regardless of origin
                location. 137

The verification report did not provide any information which would call into question the GM's
explanation as to why Alno had the amount of raw materials that were present. 138 If anything, the
presence of ample and abundant raw materials suggests that Alno had everything it needed in
Malaysia to produce the WCV in Malaysia, as opposed to not having enough raw materials in
Malaysia to produce the WCV in Malaysia. 139 CBP also observed the machinery needed to produce
WCV in Malaysia, specifically, machines used to dovetail and precisely trim wood.140 This suggests
that Alno had the capacity to produce the WCV in Malaysia.141 Additionally, CBP officials observed
a packaging area for finished products during the on-site verification; again, this constitutes direct
evidence of Alno's production capacity for the manufacture ofWCV in Malaysia. 142

        The evidence relied upon in the January 31st Determination to dismiss the substantial
evidence of capacity is insufficient. The determination concludes that [Co.                ] sales
documents, consisting of invoices issued by [Co.            ] to Alno for sales of raw materials, are
unreliable because of the discrepancy in sales prices of raw materials for invoices examined at the
on-site verification: "on Invoice [ no.            ], dated [date         ], the price for birch and
hickory was $[         no.] and$ [     no.], respectively, but on Invoice [       no.], dated [    date],
the price for birch and hickory was $[no.] and $[no. ] ... " 143 While this difference raises
questions, CBP officials asked about the difference and Alno's Chief Accountant indicated that the
difference is: " {n} ormal based on the volume they purchase, and the mix in the container. The
smaller the size boards, the bigger the quantity they can order and better price they can receive. It all
depends on the product mix in the container." 144

          More importantly, this difference does not in any way establish that these raw materials
were actually finished products manufactured in China, which link to a specific entry of WCV
imported by Scioto. 145 The January 31st Determination did note that "Alno owes substantial
amount of money (sic) to the Haiyan Group for subsidizing Alno's budget shortfalls." 146 The
increase or decrease in sales price is likely a mechanism to transfer money between related
companies to make up for debts owed between the related companies, and a device used to
reallocate funds amongst related companies based upon each company's current needs. 147 We do

137 Id. (Business Confidential Version).

u s Id.
139 See id. (Public Version).
140 See id. at 5-6.
141 See id.
142 See id. at 6.
143 Id. at 8 (Business Confidential Version) (quoting RAAAS verification report, dated December 21, 2022, at 5 (Business

Confidential Version).
144 RAAAS verification report, dated December 21, 2022, at 5 (Public Version).
145   See id.
146 January 31st Determination at 4-5 (Public Version).
147 See id.     See aLfo Alno's Third Supplemental Response, dated October 17, 2022 (Business Confidential Version):

                Response: The unit transfer prices between [Co.          ] and Alno do not reflect the market
                price for the materials. Since the companies are related to each other, if [Co.      ] needs to
                get more fund to purchase raw wood boards, the unit prices for the solid is increased so that the
                total payment made by Alno to [Co.            ] for that purchase is increased. The invoice
                [No. ] dated [ date ] is one such situation. In the same way, if Alno needs more fund

                                                                  19
      Case 1:23-cv-00140-LWW                      Document 24              Filed 08/17/23            Page 54 of 59
                                                   PUBLIC VERSION


not discuss here the implications of such a practice, in terms of the reliability of the transfer prices
related to raw materials and/ or finished goods purchased by Alno from China, but note that such
types of intra-corporate pricing policies are a key reason why government agencies often do not rely
upon, or minimally rely upon, related-party transfer prices. 148 We further note that there has been
no allegation, nor has evidence been provided, that prices on the importation-related documents
which were submitted to CBP for Scioto's entries were inaccurate or false such that a finding of
evasion could be made based on false valuation.

         Furthermore, regardless of the listed prices, because the documentation shows sales of raw
materials from [Co.                 ] to Alno in Malaysia, it supports a conclusion that Alno
manufactured the raw materials into WCV in Malaysia and then exported the finished products to
Scioto. 149 Alno acknowledged that it purchased both birch and hickory from China in one of its
responses to a request for information. 150 Moreover, packing checklists, warehouse out slips, and
inbound order forms provided to CBP identify birch and hickory (raw materials) sold from [
Co.         ] to Alno, and photographs present in the record inside of Alno's factory in Malaysia
validate sales of raw materials from [Co.     ] to Alno. 151

         The January 31st Determination acknowledged that the factory in Malaysia can produce
WCV, and the documentation of purchases of raw materials, as well as the actual presence of raw
materials at Alno's warehouse, corroborate production in Malaysia. 152

         The January 31st Determination further notes that "invoices from [Co.                 ] use
vague invoice descriptions that do not specify or categorize different sizes of wood or specific
hardware." 153 Given the presence of actual raw materials at the factory, this fact related to the
invoices does not equate to a conclusion that, behind the invoice descriptions claimed to be raw
materials sent to Alno, are actually finished products manufactured in China and transshipped
through Malaysia. 154 The January 31st Determination also considers discrepancies, in terms of unit
transfer prices, and finds that units of quantity were inconsistent (cartons, packages, and pallets) in
the invoices for purchases of raw materials, and there were no invoice documents for purchases of
glass.155 Again, without more, as discussed herein, this does not demonstrate transshipment. 156

       The January 31st Determination indicates that, in some cases, when packages or cartons
were used as the quantity type, the matching Packing Check-Lists would contain SKUs of finished


          to run its operation, the unit prices for the solid wood would be decreased so that the total
          payment made by Alno to [Co.           ] for that purchase will be less than what they should
          pay. The invoice [No. ] dated [date ] meets this situation.

148 See, e.g., 19 U.S.C. § 1677b(f)(2)("A transaction directly or indirectly between affiliated persons may be disregarded if,

in the case of any element of value required to be considered, the amount representing that element does not fairly
reflect the amount usually reflected in sales of merchandise under consideration in the market under consideration.").
149 January 31st Determination at 4-5 (Public Version). See also Alno's Third Supplemental Response, dated October

17, 2022 (Business Confidential Version).
150 Scioto's June 1, 2022 CF 28 Response at p. 96 (Business Confidential Version).
151 See, e.g., id. at 125-241; see also verification report at Attachment 4, Photos 3-6, pp. 2-3 (Business Confidential Version).
152 J anuary 31st Determination at 4 (Public Version).
153 Id. at 8 (Business Confidential Version).
154 See id (Public Version).
155 Id. at 8-9.
156 See id.



                                                               20
      Case 1:23-cv-00140-LWW                     Document 24             Filed 08/17/23      Page 55 of 59
                                                  PUBLIC VERSION


goods, which then also had a related FPID sheet. 157 However, when one examines Verification
Exhibit 10, cited by the January 31st Determination, it appears that these only pertain to purchase
order numbers from [Co. ], not Scioto, because the documentation lacks production batch numbers
(which denotes purchased goods, rather than manufactured goods) and the purchase order numbers
are in a different format from those used for Scioto's purchases. 158 As discussed above, evidence as
to [Co. ] does not demonstrate evasion by Scioto.

         Moreover, we disagree with the conclusions drawn in the January 31st Determination as to
the FPID sheets. As demonstrated in the summary table provided herein (which is based on our
examination of the record), a review of the SKU s for the WCV imported by [Co. ] shows that the
SKU s are not the same as the SKU s for WCV imported by Scioto. The January 31st Determination
states that the FPID sheets contained SKU s and purchase order numbers for Scioto and "were nemfy
identical to the ones for [Co.     ] transshipped goods ." 159 (Emphasis added.) However, only two
out ofScioto's fourteen SKUs approximately match the documentation cited by the January 31st
Determination, including the FPID sheets, and even those two SKU s do not match exactly. 160 As
such, in our view, this evidence does not support the proposition that Alno also transshipped WCV
to Scioto.




157 Id. at 9; Verification Exhibit 10 (Business Confidential Version).
158 Verification Exhibit 10 (Business Confidential Version).  Compare January 31st Determination FPID sheet on page 23
for goods sent to Scioto: "Batch no. [batch no.] and Purchase Order number [no. ] 1vith e.g. FPID sheet from
Verification Exhibit 10 page 24 [batch no.] purchase order no. [no.              ] (Business Confidential Versions)
(emphasis added).
159 January 31st Determination (Business Confidential Version) at 6, Attachments 22-25 (citing Verification Exhibit 10

(Business Confidential Version).
160 Id. at 23-25; Verification Exhibit 10 (Business Confidential Version) at pages 19, 21, 23, 26, 32, 33.

[




Comparison of SKUs




                                                               21
        Case 1:23-cv-00140-LWW                   Document 24           Filed 08/17/23            Page 56 of 59
                                                  PUBLIC VERSION


        Finally, the use of different quantity type designations, without more, is not probative as to
the issue of evasion.

        Likewise, with regards to the lack of invoices for glass, this pertained to shipments to [Co. ],
not Scioto, per the verification report. 161 The lack of invoices for glass with respect to products
shipped to [Co. ] is of limited to no relevance here, where the record demonstrates that 1) the
verification report mentions no evidence of Scioto's having ordered products with glass from Alno,
2) the same or similar invoices for glass were lacking for Scioto's orders, and, 3) most importantly,
glass was not among the materials listed in Scioto's product and batch material lists, obviating any
reason for Alno to possess such invoices for WCV sold to Scioto. 162

                    4.        Alno's employee records are direct evidence of production of WCV in
                              Malaysia.

          CBP noted in the verification report that Alno's GM stated that "about [no.] employees ...
run the facility ... (and) there are four production areas: 1. [area          ]; 2. [     area]; 3.
[area ]; and 4. [area             ]." 163 Thus, it appears that Alno had the workforce necessary to
complete the various stages of producing WCV. 164 The verification report did not include any
information to cast doubt on the GM's aforementioned statements regarding production at Alno's
facility in Malaysia. 165 We note that Alno stopped production of WCV as of [date                   ],
after the last dates of entry concerning the entries subject to this investigation, [date         ],
because " {c} ustomers would not accept orders due to ongoing litigation and EAPA
·       ·   ·
mves   tigation ... ,,1 66

         Although the factory was shut down during the verification, Alno brought in employees to
demonstrate that the factory in Malaysia could produce WCV at the factory location. 167 Even
though Alno's bringing in employees during the shutdown to demonstrate the production process
does not demonstrate that the workers were previously present and that they produced the goods at
issue in this investigation in Malaysia, CBP acknowledged in the January 31st Determination that
Alno could produce the products in Malaysia. 168 In addition, CBP found machinery present at
Alno's factory used to manufacture WCV, including machines used to dovetail wood and make
precise trims to make the WCV presently at issue. 169

               D. Scioto was not denied procedural due process, and other arguments raised
                  by Scioto are unpersuasive.

        Finally, we will address Scioto's argument that it was denied due process, and other
tangential or unpersuasive arguments raised by Scioto. In R!(jal Brush v. United States, the CIT

161 RAAAS verification report, dated December 21, 2022, at 13 (Business Confidential Version).
162 See id.; Scioto's June 1, 2022 CF 28 Response at Attachments 11-2-1 1-3, p. 1622-1 759 (Business Confidential

Version).
163 RAAAS verification report, dated December 21 , 2022, at 5 (Business Confidential Version).
164 See id.
165 See id.

166 Id. at 3, Attachment 3, p. 1.
167 Id. at 5 (Public Version).
168 Id. at 5; January 31st Determination at 4 (Public Version).
169 RAAAS verification report, dated December 21, 2022, at 6 (Public Version).



                                                             22
         Case 1:23-cv-00140-LWW                      Document 24               Filed 08/17/23         Page 57 of 59
                                                       PUBLIC VERSION


examined an EAPA case presenting similar due process claims around public summaries of
confidential documents required by 19 CFR § 165.4. 170 The court found that "CBP has shared
information with Royal Brush consistent with its regulation and in a manner that balances the need
to disclose evidence against an importer with the need to protect certain information from
unauthorized disclosure," and concluded that "CBP has complied with 19 CFR § 165.4 by providing
necessary public summaries of the confidential information." 171 In the present case, we find that
TRLED provided public summaries consistent with the requirements of 19 CFR § 165.4, as stated
by Ri!Jal Brush, and that Scioto's due process rights were not infringed by a lack of access to the
confidential record, although we do recognize that an appeal of the Ri!Jal Brush decision is currently
pending before the U.S. Court of Appeals for the Federal Circuit, but not yet decided. 172

        Scioto also argues that the determination should be reversed because CBP "never asked to
verify Scioto despite the fact that it was the subject of this investigation, yet made a finding of
evasion against Scioto." 173 This factor is not one that we use to support our determination and we
agree with TRLED that a verification of Scioto was not necessary under the circumstances; a finding
of evasion could be made without a verification of Scioto. The issue here is whether the WCV were
produced in Malaysia or in China. Thus, the critical on-site verification with respect to this issue was
an on-site verification of the factory in Malaysia, owned by Alno, to determine if the WCV at issue
were produced in Malaysia, or produced in and transshipped from China. 174 CBP already had the
entry records as filed by Scioto, because, by statute, Scioto was required to make entry by filing the
required documentation necessary for CBP to determine whether the merchandise can be released
(subject to exceptions inapplicable here). 175 The information that CBP needed, with respect to
Scioto, was the entry records, as filed, to determine: a) the entry type claimed (consumption vs.
AD / CVD), and b) the claimed country of origin, and CBP already had this information;- thus, an
on-site verification of this information at Scioto's premises was unnecessary. Finally, Scioto's
argument ignores the fact that on-site verification is discretionary under the EAPA statute, not
mandatory, and it is focused only on the relevant issues at play in a particular case:

            {i} n making a determination under paragraph (1) with respect to covered merchandise,
            the Commissioner may collect such additional information as is necessary to make
            the determination through such methods as the Commissioner considers appropriate,
            including by- ... conducting verifications, including on-site verifications, of any
            relevant information. 176

        Scioto's argument regarding missing invoices also makes undue assumptions. The
verification report states that a review of the documents discovered that invoices [no.          ],
[no.           ], and [no.          ] were missing, as well as the corresponding packing lists and
shipping invoices. 177 Additionally, there were no corresponding Packing Check-Lists in the folder



170 See Royal Brush Mfg., Inc. v. United States, 545 F. Supp. 3d 1357,1367-69 (Ct. Int'l Trade Oct. 29, 2021); appealfiled and

docketed, No. 22-1226 (Fed. Cir. filed Sept. 9, 2022).
171 Id. at 1367, 1369.
172   Royal Brush Mfg., Inc. v. United States, No. 22-1226 (Fed. Cir. filed Sept. 9, 2022).
173 Scioto's March 15, 2023 Request for Administrative Review at 5 (Public Version).
174 See 19 U.S.C. § 151 7(c)(2)(B).
175 See 19 U.S.C. § 1484(a)(1).
176 19 U.S.C. § 1517(c)(2)(B)(emphasis added).
177 RAAAS verification report, dated December 21, 2022, at 16 (Business Confidential Version).



                                                                   23
          Case 1:23-cv-00140-LWW               Document 24           Filed 08/17/23     Page 58 of 59
                                                PUBLIC VERSION


related to the period of the missing invoices. 178 As a result, TRLED found that CBP was not able to
verify or confirm whether all cabinets and vanities exported to Scioto were produced on-site in
Malaysia or imported from China, due to the company's vague record keeping. 179 Scioto claims that
"CB P's finding of vague record keeping refers to Alno's material purchase records, rather than the
production records reviewed by CBP." 180 However, Scioto's argument unnecessarily assumes that
these missing purchase records pertain to raw materials from China, not finished products from
China. 181 Regardless though, we find that there is substantial evidence on the record demonstrating
that the WCV at issue were produced in Malaysia based upon the aforementioned production
records, and the presence of ample raw materials and machinery at Alno's raw materials warehouse
in Malaysia.

        In asking us to reverse the January 31st Determination, Scioto makes two additional and
tangential requests, both of which we dismiss for purposes of our determination.

        First, Scioto requests that: CBP "must provide Scioto with the opportunity to demonstrate
that individual shipments during the period of investigation and going into the future were produced
in Malaysia in order to avoid antidumping and countervailing duty liability." 182 In light of reversal of
the finding of evasion, this argument is moot and we take no position on this point.

        Secondly, Scioto also argues that " {f} or new entries and for entries on which cash deposits
are claimed, Scioto should be allowed to submit additional documentation during the entry process
to demonstrate that the cabinets were produced in Malaysia. CBP should make it clear in its final
determination that such procedures will be available to Scioto." 183 Again, given our reversal of the
finding of evasion, this argument is not relevant to our determination. However, we note that 19
U.S.C. § 1484 and 19 CFR § 142.3 already detail the entry documentation requirements. 184 Moreover,
CBP's regulation provides for importers to submit "Other documentation. Other documents which
may be required by CBP ... for a particular shipment." 185

       Based on the foregoing, irrespective of Scioto's arguments and requests which we find
unpersuasive or inapposite, particularly Alno's production capacity and documentation relating to
production of the WCV and linked to Scioto's entries at issue, we conclude that there is not
substantial evidence of evasion as defined by EAPA.

      IV.       Decision

       Based upon our de novo review of the administrative record in this case, including the
administrative record as transmitted to RR by TRLED, the request for administrative review and
response, the January 31st Determination of evasion under 19 U.S.C. § 1517(c) is REVERSED.




178 Id. (Public Version).
179 January 31st Determination at 5-6 (Public Version).
180 Scioto's March 15, 2023 Request for Administrative Review at 13 (Public Version).
181 See id.
182 Id. at 5.

183 Id.
184 19 U.S.C. § 1484; 19 CFR § 142.3.
185 19 CFR § 142.3(a)(5).



                                                          24
     Case 1:23-cv-00140-LWW                Document 24     Filed 08/17/23      Page 59 of 59
                                           PUBLIC VERSION


       A copy of this determination is being provided to TRLED so that the interim
measures may be modified consistent with this decision. TRLED may also take any
other appropriate actions consistent with this decision.

       This decision does not preclude CBP or other agencies from pursuing additional
enforcement actions or penalties. Pursuant to 19 CFR § 165.46(a), this final administrative
determination is subject to judicial review pursuant to Section 421 of the TFTEA.


Sincerely,

JA( INTQ p           Digitally signed by
                     JACINTO P JUAREZ JR
                     Date:2023.06.12
JUAREZ JR            18:44:14-04'00'

Jacinto P. Juarez,Jr.
Supervisory Attorney-Advisor
Regulations & Rulings, Office of Trade
U.S. Customs & Border Protection


Approved by:
ALI ( E A Digitally signed
               by ALICE A KIPEL
               Date: 2023.06.12
Kl PEL         19:01 :46 -04'00'

Alice A. Kipel
Executive Director,
Regulations & Rulings, Office of Trade
U.S. Customs and Border Protection




                                                  25
